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 Proposed Special Counsel for the Official
 Committee of Unsecured Creditors

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                                                     (Hon. Vincent F. Papalia)
     In re:                                                          Chapter 11
                                                                     Case No. 23-13359 (VFP)
     BED BATH & BEYOND, INC., et al.,1
                                                                     (Jointly Administered)
                             Debtors.                                Hearing Date: Only if objection filed.
                                                                     Obj. Deadline: July 19, 2023

           APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
        CREDITORS FOR ENTRY OF AN ORDER AUTHORIZING THE RETENTION
           AND EMPLOYMENT OF GIBBONS P.C. AS ITS SPECIAL COUNSEL
                        EFFECTIVE AS OF MAY 23, 2023

              The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

 chapter 11 cases (the “Chapter 11 Cases”) of the above-captioned debtors and debtors in

 possession (the “Debtors”) submits this application (the “Application”) for entry of an order,

 substantially in the form attached hereto as Exhibit A, authorizing the retention and employment

 of Gibbons P.C. (“Gibbons” or the “Firm”) as its special counsel pursuant to sections 328(a) and



 1
   The last four digits of Debtor Bed Bath & Beyond, Inc.’s tax identification number are 0488. A complete list of the
 Debtors in the Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of
 the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath &
 Beyond, Inc.’s principal place of business and the Debtors’ service address in the Chapter 11 Cases is 650 Liberty
 Avenue, Union, New Jersey 07083.
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 1103 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2014(a) of

 the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the

 Local Rules for the United States Bankruptcy Court for the District of New Jersey (the “Local

 Rules”). In support of the Application, the Committee submits the Declaration of Robert K.

 Malone, Esq., Pursuant to 28 U.S.C. § 1746, in Support of the Application of the Official

 Committee of Unsecured Creditors for Entry of an Order Authorizing the Employment and

 Retention of Gibbons P.C. as its Counsel Effective as of May 23, 2023 (the “Malone Declaration”),

 attached hereto as Exhibit B, and the Declaration of Michael Mandell, Pursuant to 28 U.S.C. §

 1746, in Support of the Application of the Official Committee of Unsecured Creditors for Entry of

 an Order Authorizing the Employment and Retention of Gibbons P.C. as its Counsel Effective as

 of May 23, 2023 (the “Mandell Declaration”), attached hereto as Exhibit C. In further support of

 the Application, the Committee respectfully states as follows:

                                 JURISDICTION AND VENUE

    1. The Court has jurisdiction to consider and grant the relief requested herein pursuant to 28

 U.S.C. §§ 1334 and 157, and the Standing Order of Reference from the United States District

 Court for the District of New Jersey dated July 23, 1984 and amended September 18, 2012. The

 Committee confirms its consent to the Court entering a final order in connection with the

 Application to the extent that it is later determined that the Court, absent consent of the parties,

 cannot enter final orders or judgments in connection herewith consistent with Article III of the

 United States Constitution.

    2. Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

    3. The bases for the relief sought herein are sections 328(a) and 1103(a) of the Bankruptcy

 Code, Bankruptcy Rule 2014(a), and Local Rule 2014-1.
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                                          BACKGROUND

    4. On April 23, 2023 (the “Petition Date”), each Debtor filed a voluntary petition for relief

 under chapter 11 of the Bankruptcy Code with the Court. The Debtors are operating their

 businesses and managing their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11 Cases.

    5. On May 5, 2023, the Office for the United States Trustee for Region Three (the “U.S.

 Trustee”) appointed the Committee, consisting of the following members: (i) Ryder Integrated

 Logistics, Inc.; (ii) The Bank of New York Mellon; (iii) Intersoft Data Labs Inc.; (iv) KDM P.O.P.

 Solutions Group; (v) Shark Ninja Operating LLC; (vi) Lenox Corporation; and (vii) SITE Centers

 Corp. [ECF No. 218].

    6. On May 8, 2023, the Committee voted to retain and employ Pachulski Stang Ziehl & Jones

 LLP (“Pachulski”) as its lead bankruptcy counsel, which the Court approved on June 16, 2023.

 [ECF Nos. 660, 754].

    7. On or about May 23, 2023, the Committee selected and retained, subject to approval by the

 Court, Gibbons as its special counsel.

                        RELIEF REQUESTED AND BASIS THEREFOR

    8. By way of the Application, pursuant to sections 328(a) and 1103(a) of the Bankruptcy

 Code, Bankruptcy Rule 2014(a), and Local Rule 2014-1, the Committee respectfully requests entry

 of the proposed order attached hereto as Exhibit A, approving the employment and retention of

 Gibbons, effective as of May 23, 2023, as its special counsel in connection with the Chapter 11

 Cases.

    9. The Committee selected Gibbons after determining that Gibbons’ relevant experience, both

 in and out of bankruptcy, in such areas as corporate, tax, intellectual property and real estate,
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 among others, warranted selection of the Firm to assist Pachulski in the representation of the

 interests of the Committee.      Gibbons’ attorneys have, over their respective careers, also

 represented several creditors’ committees in many other major chapter 11 cases. Based on these

 facts, the Committee is satisfied that Gibbons is qualified to serve as special counsel to assist

 Pachulski and the Committee in fulfilling their fiduciary duties in the Chapter 11 Cases.

    10. Pursuant to section 1103(a) of the Bankruptcy Code, the Committee requests that this Court

 approve the employment of Gibbons as its special counsel to, among other things:

            (a) attend the meetings of the Committee as requested;

            (b) provide legal advice with respect to, among other things, tax, real
                estate, intellectual property and litigation;

            (c) prepare, as requested by Pachulski as lead bankruptcy counsel
                and/or the Committee, applications, motions, answers, orders,
                reports, and other legal papers;

            (d) appear in Court as necessary and protect the interests of the
                Committee before the Court; and

            (e) perform all other legal services for the Committee that may be
                assigned to Gibbons by Pachulski and/or the Committee.

    11. Gibbons has advised the Committee that it intends to apply to the Court for compensation

 and reimbursement of expenses in accordance with applicable provisions of the Bankruptcy Code,

 the Bankruptcy Rules, the Local Rules, and any administrative compensation order entered in the

 Chapter 11 Cases. The proposed rates of compensation, subject to final Court approval, are the

 customary hourly rates in effect when services of this nature are performed by the attorneys, legal

 assistants and staff who may be called upon to provide services to the Committee. The Firm’s

 current hourly rates range from $225 for paralegals to $1,075 for the Firm’s most senior partners.

 The current hourly rates for the Gibbons attorneys and paralegals that may from time to time

 represent the Committee are as follows:
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                         Timekeeper                Title         Hourly Rates
                      Robert K. Malone           Director           $1075
                       Dale E. Barney            Director            $950
                        Peter J. Ulrich          Director            $925
                       Mark B. Conlan            Director            $740
                    Natasha M. Songonuga         Director            $720
                       Brett S. Theisen          Director            $700
                    Chantelle D. McClamb         Director            $700
                       David N. Crapo            Counsel             $790
                     Christopher P. Anton        Counsel             $715
                      Kyle P. McEvilly           Associate           $435
                         Ellen Rosen           Case Manager          $375
                        Neal Mitchell            Paralegal           $295

 Gibbons has advised the Committee that the Firm’s hourly rates are subject to periodic adjustments,

 of which the Firm will provide notice.

    12. Consistent with the Firm's policy with respect to its other clients, Gibbons will charge the

 Debtors’ estates for all charges and disbursements incurred in rendering services to the Committee.

 These customary items include, among other things, photocopying, facsimiles, actual out-of-

 pocket expenses for travel, lodging, and business meals, computerized research, postage, witness

 fees, and other fees related to trials and hearings. Internal costs or overhead cost and document

 production services (including regular secretarial and word processing time), will not be charged

 for separately.

    13. Based upon the Malone Declaration filed contemporaneously herewith, the Committee is

 satisfied that (i) Gibbons does not hold or represent an adverse interest in connection with the

 Chapter 11 Cases, and that its employment is in the best interest of the Debtors’ estates and their

 creditors, (ii) Gibbons has no connection with the U.S. Trustee or any other person employed in

 the office of the U.S. Trustee, and (iii) Gibbons has not been paid any retainer against which to

 bill fees and expenses. To the best of the Committee’s knowledge, Gibbons has no connection
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 with creditors or any other party in interest except as otherwise disclosed in the Malone

 Declaration.

    14. Nunc pro tunc relief is warranted with respect to Gibbons’ retention. The Firm has been

 diligent since its selection by the Committee in preparing and prosecuting its application in a timely

 manner under the circumstances of the Chapter 11 Cases. An initial focus of the Firm’s work was

 necessarily devoted to the Second Day Hearing held by the Court on May 31, 2023. Gibbons

 immediately engaged with the Committee’s professionals and counsel to the Debtors, raising a

 number of concerns. By the time the Committee retained Gibbons, the Debtors’ sale process,

 which began pre-petition, was well underway and proceeding on an expedited track. Gibbons has

 been actively working with the Committee’s and the Debtors’ professionals to come up to speed

 and resolve the Committee’s concerns with respect to the sale of the Debtors’ assets, specifically

 with respect to Net Operating Losses (“NOLs”) and other tax attributes associated with the

 Debtors’ assets. Moreover, as part of performing conflict checks and determining Gibbons’

 connections to the Chapter 11 Cases, the Firm’s Conflicts Department had to run over 2500 names

 of potential parties in interest. This inordinate number of searches took longer than most searches

 in chapter 11 cases. These circumstances warrant nunc pro tunc relief. See, e.g., In re United Cos.

 Fin. Corp., 241 B.R. 521, 526 (Banks. D. Del. 1999) (“In fact, the [United States Trustee]

 recognizes that in large chapter 11 cases, given the press of urgent matters to be determined in the

 early days of the chapter 11 proceeding, the preparation and filing of retention applications for all

 professionals may be delayed. If such applications are filed within 30 days of the petition date,

 therefore, the [United States Trustee] will, not ordinarily object.”).
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                  STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

     15. Gibbons intends to apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Chapter 11 Cases, subject to approval

 of the Court and in compliance with sections 330 and 331 of the Bankruptcy Code and applicable

 provisions of the Bankruptcy Rules, Local Rules, and any other applicable procedures and orders

 of the Court, on an hourly basis, plus reimbursement of actual, necessary expenses and other

 charges incurred by Gibbons. Gibbons also intends to make reasonable efforts to comply with the

 U.S. Trustee’s requests for information and additional disclosures as set forth in the Guidelines for

 Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.

 § 330 for Attorneys in Larger Chapter 11 Cases (the “UST Guidelines”), both in connection with

 the Application and the interim and final fee applications to be filed by Gibbons in the Chapter 11

 Cases.

                              NOTICE AND NO PRIOR REQUEST

     16. Notice of the Application is being provided to (i) the U.S. Trustee for the District of New

 Jersey; (ii) Kirkland & Ellis LLP and Kirkland & Ellis International LLP, co-counsel for the

 Debtors; (iii) Cole Schotz P.C., co-counsel for the Debtors; (iv) Pachulski Stang Ziehl & Jones

 LLP, lead counsel to the Committee; and (v) all parties having formally requested notice pursuant

 to Bankruptcy Rule 2002 via the Court’s CM/ECF system. The Committee respectfully submits

 that, in light of the nature of the relief requested, no further notice is necessary or required.

     17. No prior request for the relief sought in the Application has been made to the Court or any

 other court.
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           WHEREFORE, the Committee hereby respectfully requests that it be authorized to retain

 and employ Gibbons P.C. as its special counsel, effective as of May 23, 2023, that Gibbons be paid

 such compensation as may be allowed by this Court in accordance with sections 330 and 331 of the

 Bankruptcy Code, and that the Committee be awarded such other further relief as is deemed just and

 proper.



 Dated: July 11, 2023                          The Official Committee of Unsecured Creditors
                                               of Bed Bath & Beyond, Inc., et al.


                                               By:
                                                     Michael Mandell, solely in his capacity
                                                     as Chairperson of the Committee
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 Proposed Special Counsel for the Official
 Committee of Unsecured Creditors

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                                                     (Hon. Vincent F. Papalia)
  In re:
                                                                     Chapter 11
                                                  1
  BED BATH & BEYOND, INC., et al.,
                                                                     Case No. 23-13359 (VFP)
                             Debtors.
                                                                     (Jointly Administered)

   DECLARATION OF ROBERT K. MALONE, ESQ., PURSUANT TO 28 U.S.C. § 1746,
     IN SUPPORT OF THE APPLICATION OF THE OFFICIAL COMMITTEE OF
    UNSECURED CREDITORS FOR ENTRY OF AN ORDER AUTHORIZING THE
   EMPLOYMENT AND RETENTION OF GIBBONS P.C. AS ITS SPECIAL COUNSEL
                      EFFECTIVE AS OF MAY 23, 2023

           ROBERT K. MALONE, of full age, under penalty of perjury, hereby declares as follows:

     1. I am an attorney at law admitted to practice in the State of New Jersey, the United States

 District Court for the District of New Jersey, the United States District Court for the Southern and

 Eastern Districts of New York, and the United States Court of Appeals for the Third Circuit. I am

 a Director at the law firm of Gibbons P.C. (“Gibbons” or the “Firm”) and Chair of the Firm’s


 1
   The last four digits of Debtor Bed Bath & Beyond, Inc.’s tax identification number are 0488. A complete list of the
 Debtors in the Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of
 the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath &
 Beyond, Inc.’s principal place of business and the Debtors’ service address in the Chapter 11 Cases is 650 Liberty
 Avenue, Union, New Jersey 07083.
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 Financial Restructuring and Creditors’ Rights Practice. I make this Declaration pursuant to section

 1103 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 2014

 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

    2. Gibbons is a law firm of approximately 165 attorneys, which maintains an office at One

 Gateway Center, Newark, New Jersey 07102-5310, among other locations. Subject to the Court’s

 approval, Gibbons proposes to provide legal services to the Official Committee of Unsecured

 Creditors (the “Committee”) of Bed Bath & Beyond, Inc. and its affiliates (the “Debtors”) in their

 chapter 11 cases (the “Chapter 11 Cases”), at the rates approved by the Court, in compliance with

 sections 328(a), 504 and 1103 of the Bankruptcy Code, and to provide disclosure required under

 Bankruptcy Rules 2014(a) and 2016(a). Unless otherwise stated in this declaration (the “Malone

 Declaration”), I have personal knowledge of the facts set forth herein. To the extent any

 information disclosed herein requires amendment or modification upon Gibbons’ completion of

 further review or as additional party-in-interest information becomes available to it, a supplemental

 declaration will be submitted to the Court reflecting such amended or modified information.

                                   RELEVANT EXPERIENCE

    3. The Committee seeks to employ Gibbons as its special counsel because of the Firm’s

 recognized experience, both in and out of bankruptcy, in such areas as corporate, tax, real estate,

 intellectual property and complex commercial litigation. The Firm’s attorneys also have extensive

 knowledge in the fields of creditors’ rights and corporate reorganizations under chapter 11 of the

 Bankruptcy Code. In fact, a number of Gibbons attorneys have completed judicial clerkships with

 bankruptcy judges in this district. Ultimately, Gibbons’ combination of relevant experience,

 among other considerations, warranted its selection by the Committee to serve as special counsel
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 and assist the Committee’s lead counsel, Pachulski Stang Ziehl & Jones LLP (“Pachulski”), in

 fulfilling its duties and responsibilities in the representation of the Committee.

                                  SERVICES TO BE PROVIDED

    4. The professional services that Gibbons may provide to the Committee include, but are not

 limited to, the following (collectively, the “Services”):

                (a)      attend the meetings of the Committee as requested;

                (b)      provide legal advice with respect to, among other things, tax,
                         real estate, intellectual property and litigation;

                (c)      prepare, as requested by Pachulski as lead bankruptcy
                         counsel and/or the Committee, applications, motions,
                         answers, orders, reports, and other legal papers;

                (d)      appear in Court as necessary and protect the interests of the
                         Committee before the Court; and

                (e)      perform all other legal services for the Committee that may
                         be assigned to Gibbons by Pachulski and/or the Committee.

    5. I further submit that the employment of Gibbons as special counsel will not be duplicative

 of, but will complement, the services to be provided by Pachulski. The Committee, Pachulski and

 Gibbons do not anticipate any overlap in responsibility or duplication of efforts between Pachulski

 and Gibbons. To that end, Gibbons will continue to work closely with Pachulski, the Committee,

 and its other professionals to ensure that there is no unnecessary duplication of efforts. However,

 out of an abundance of caution and a desire to efficiently provide the Services to the Committee,

 Gibbons will coordinate efforts with the Committee’s professionals to avoid duplication of work

 and unnecessary fees.

                                 CONFLICT CHECK PROCESS

    6. In order to prepare the Malone Declaration and at my direction, the Firm compared the

 Debtors’ bankruptcy petitions, current and former officers and directors, agents, contract
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 counterparties, landlords, beneficiaries, court personnel, potentially responsible parties, equity

 holders, bondholders, secured lenders, insurers, banks, significant litigation parties, professionals,

 significant unsecured creditors, significant vendors, and other interested parties (collectively, the

 “Potential Parties in Interest”), along with pleadings that have been filed with the Court to date,

 with the information contained in the conflict check systems and adverse party indexes currently

 maintained by Gibbons (collectively, the “Conflict Check System”). A list of entities searched is

 attached hereto as Schedule 1.

    7. The facts stated herein, as to any connections between Gibbons lawyers on one hand, and

 the Debtors, the Debtors’ creditors, other parties in interest, their respective attorneys and

 accountants, the Office of the United States Trustee for Region Three (the “U.S. Trustee”), other

 persons employed by the U.S. Trustee, and those persons and entities who are defined as not

 disinterested persons in § 101(14) of the Bankruptcy Code, on the other hand, are based primarily

 upon the results of the review of the Conflict Check System.

    8. In addition, through a firm-wide e-mail, our Firm’s Conflicts Department also solicited

 information directly from Gibbons attorneys to determine whether any of them were aware of any

 connections relevant to our proposed representation of the Committee. No such connections have

 yet been identified, except as set forth herein. In the event that any additional information is

 received, Gibbons will promptly supplement the disclosures contained herein to the Court.

    9. The Conflict Check System is a computerized database of current and former clients and

 adverse and related parties that is regularly maintained and updated in the course of the Firm’s

 business. These procedures are designed to include every matter on which the Firm is now or has

 been engaged, by which entity the Firm is now or has been engaged, and, in each instance, to

 include and record the identity of related parties and adverse parties and the attorney in the Firm
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 who is knowledgeable about the matter. It is Gibbons’ policy that that no new matter may be

 accepted or opened within the Firm without completing and submitting to those charged with

 maintaining the Conflict Check System the information necessary to check such matter for

 conflicts, including the identity of the prospective client, the matter and related and adverse parties.

     10. Accordingly, the database is regularly updated for every new matter undertaken by

 Gibbons and reflects entries that are noted in the systems at the time the information becomes

 known by persons whose regular duties include recording and maintaining this information. The

 scope of the system is a function of the completeness and accuracy of the information submitted

 by the attorney opening a new matter. As a Director in the Firm, I regularly send information to

 update the Conflict Check System and use and rely upon the information contained in the system

 in the performance of my duties at the Firm and in my practice of law.

                 GIBBONS’ CONNECTIONS WITH PARTIES IN INTEREST
                 IN MATTERS UNRELATED TO THE CHAPTER 11 CASES

     11. To the best of my knowledge and information after due inquiry, (i) except as disclosed

 herein, Gibbons has no connections, within the meaning of Bankruptcy Rule 2014(a), with the

 Debtors, their creditors, any other party in interest, their respective attorneys or accountants, the

 U.S. Trustee, or any employee of that office; (ii) Gibbons does not hold or represent an adverse

 interest in connection with the Chapter 11 Cases; and (iii) Gibbons is a disinterested person within

 the meaning of section 101(14) of the Bankruptcy Code.

     12. Gibbons has searched on its electronic database for its connections to the entities listed on

 Schedule 1 hereto. To the extent that I have been able to ascertain that Gibbons has been retained

 within the last three (3) years to represent any of the Potential Parties in Interest (or their affiliates,

 as the case may be) in matters wholly unrelated to the Chapter 11 Cases, such relationships are

 disclosed on Schedule 2 attached hereto.
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     13. No Gibbons attorney presently represents the Debtors. Additionally, no attorney at

 Gibbons represents an insider of the Debtors, any subsidiary, or other affiliate. In the past, Gibbons

 attorneys have represented the Debtors in discrete matters that are not related to the Chapter 11

 Cases or the scope of the work that the Firm is being retained to perform in the Chapter 11 Cases.

 Specifically, within the past three (3) years, Gibbons advised Bed Bath & Beyond, Inc. on a single

 employment related matter. The employment matter concluded in December 2023 and the court

 entered an order approving a proposed settlement in January 2023. As of the Petition Date,

 Gibbons was owed $80,584.92 in connection with the employment matter. In consideration for

 undertaking this representation, Gibbons has agreed to waive the $80,584.92 unsecured claim in

 its entirety.

     14. In addition to the connections disclosed on Schedule 2, Gibbons and certain of its directors,

 counsel and associates may have in the past represented, may currently represent, and likely in the

 future will represent other Potential Parties in Interest in connection with matters wholly unrelated

 to the Debtors or the Chapter 11 Cases. Moreover, Gibbons appears in many cases, proceedings,

 and transactions involving different attorneys, financial consultants and investment bankers, some

 of which may now or in the future represent the Potential Parties in Interest. Gibbons may also

 represent in the future certain Committee members and/or their affiliates in their capacities as

 official committee members in other chapter 11 cases, all of which involve matters wholly

 unrelated to the Chapter 11 Cases.

     15. No attorney at Gibbons has been paid fees prepetition or holds a security interest,

 guarantee, or other assurance of compensation for services performed and to be performed in these

 proceedings except as set forth herein.
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    16. There is no agreement of any nature as to the sharing of any compensation to be paid to

 Gibbons.

    17. Except as disclosed herein, no attorney at Gibbons has any other connection with the

 Debtors, their creditors, the U.S. Trustee, or any employee of that office, or any parties in interest

 in these proceedings.

    18. To the best of my knowledge, no attorney at Gibbons is a relative of, currently has, or

 previously has had any connection with the bankruptcy judge approving the employment of

 Gibbons as the Committee’s special counsel that would render the employment improper.

    19. To the best of my knowledge, no attorney at Gibbons has any other interest, direct or

 indirect, that may be affected by the proposed representation.

    20. Gibbons will not, while employed by the Committee, represent any other person or entity

 having an adverse interest in connection with the Chapter 11 Cases.

                         GIBBONS’ RATES AND BILLING PRACTICES

    21. The Firm’s current hourly rates range from $225 for paralegals to $1,075 for the Firm’s

 most senior directors. The current hourly rates for the Gibbons attorneys and paralegals that may

 from time to time represent the Committee are as follows:
                         Timekeeper                 Title          Hourly Rates
                      Robert K. Malone            Director            $1075
                       Dale E. Barney             Director             $950
                        Peter J. Ulrich           Director             $925
                       Mark B. Conlan             Director             $740
                    Natasha M. Songonuga          Director             $720
                       Brett S. Theisen           Director             $700
                    Chantelle D. McClamb          Director             $700
                       David N. Crapo             Counsel              $790
                     Christopher P. Anton         Counsel              $715
                      Kyle P. McEvilly            Associate            $435
                         Ellen Rosen            Case Manager           $375
                        Neal Mitchell             Paralegal            $295
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    22. The current hourly rates set forth above are the Firm’s usual and customary hourly rates

 for work of this nature. The Firm’s rates are set at a level designed to fairly compensate Gibbons

 for its work and to cover fixed and routine overhead expenses. It is Gibbons’ policy to charge

 its clients in all areas of practice for certain other expenses incurred in connection with the

 client’s matter. The expenses charged to clients include, among other things, certain facsimile

 charges, mail and express mail charges, special or hand-delivery charges, document processing,

 photocopying charges, actual out-of-pocket expenses for travel, lodging, and business meals,

 computerized research, and transcription costs, as well as non-ordinary overhead expenses such

 as overtime for secretarial and other staff associated with specific work that may be required.

 Gibbons will charge the Debtors’ estates for these expenses in a manner and at rates consistent

 with charges made generally to its clients.

    23. Other than as set forth above, there is no proposed arrangement to compensate Gibbons in

 connection with its representation of the Committee.

    24. Gibbons intends to apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Chapter 11 Cases, subject to approval

 of the Court and in compliance with sections 330 and 331 of the Bankruptcy Code and applicable

 provisions of the Bankruptcy Rules, Local Rules, and any other applicable procedures and orders

 of the Court, on an hourly basis, plus reimbursement of actual, necessary expenses and other

 charges incurred by Gibbons. Gibbons also intends to make reasonable efforts to comply with the

 U.S. Trustee’s requests for information and additional disclosures as set forth in the Guidelines for

 Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.

 § 330 for Attorneys in Larger Chapter 11 Cases (the “UST Guidelines”), both in connection with
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 the Application and the interim and final fee applications to be filed by Gibbons in the Chapter 11

 Cases.

    25. Consistent with Paragraph D.1 of the UST Guidelines, I provide the following information

 in further support of the Application:

                (a)     Gibbons did not agree to any variation from, or alternative
                        to, its standard or customary billing arrangements for matters
                        of this nature;

                (b)     None of Gibbons’ professionals included in this engagement
                        have varied their rate based on the geographic location of the
                        Chapter 11 Cases;

                (c)     Gibbons did not represent the client in the twelve (12)
                        months prior to the Petition Date; and

                (d)     The Committee, Pachulski and Gibbons intend on
                        developing a prospective budget and staffing plan in a
                        reasonable effort to comply with the U.S. Trustee’s request
                        for information and additional disclosures. Consistent with
                        the UST Guidelines, any budget may be amended as
                        necessary to reflect changed circumstances or unanticipated
                        developments.

    26. Gibbons has agreed to provide legal services to the Committee and recognizes that any

 allowance of compensation for services rendered on behalf of the Committee in connection with

 these proceedings and any reimbursement of disbursements made in connection therewith are

 subject to the prior approval and authorization by order of this Court. Gibbons realizes that any

 application for fees must be supported by detailed contemporaneous time records. Gibbons also

 understands that the Court’s approval of its retention application is not approval of any proposed

 terms of compensation and that this Court may allow compensation on terms different from those

 proposed.

    27. Gibbons will abide by the terms of any administrative order establishing professional

 compensation and reimbursement procedures entered in this case.
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    28. The foregoing constitutes the statement of Gibbons pursuant to sections 504 and 1103 of

 the Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016(a).


        I hereby declare under penalty of perjury that the foregoing is true and correct.


  Executed on: July 12, 2023                              GIBBONS, P.C.


                                                          By: /s/ Robert K. Malone
                                                          Robert K. Malone, Esq., Director
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                                  SCHEDULE 1

                         Potentially Interested Parties List
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 Bondholder                                  Franklin Advisers, Inc.
 BlackRock Advisors, LLC                     New Jersey Division of Investment
 Western Asset Management Company, LLC       Squarepoint OPS, LLC
 CIGNA Investments, Inc.                     Russell Investment Management, LLC
 CastleKnight Management, L.P.               Carillon Tower Advisers, Inc.
 Van Eck Associates Corporation              Napier Park Global Capital (US), L.P.
 BNP Paribas Securities Corporation          Aviary Capital Enterprises, Inc.
 Morgan Stanley & Company, LLC               Barclays Capital, Inc.
 Mellon Investments Corporation              AQS Asset Management, LLC
 HSBC Bank PLC                               Mirabaud Asset Management, LTD
 J.P. Morgan Investment Management, Inc.     Oppenheimer Asset Management Inc.
 Hotchkis and Wiley Capital Management,      Healthcare of Ontario Pension Plan
 LLC                                         Pension Reserves Investment Management
 Seix Investment Advisors, LLC               Board (PRIM)
 California Public Employees Retirement      Zest S.A.
 System                                      State Street Global Advisors (SSgA)
 1832 Asset Management, L.P.                 Muzinich & Company, Inc.
 APG Asset Management US, Inc.               Nykredit Bank A/S
 Tennessee Farmers Mutual Insurance Co.      Northern Trust Global Investments, LTD
 Miller Value Partners, LLC                  Banco de Sabadell, S.A
 Northwestern Mutual Investment              Catholic Family Fraternal Of Texas
 Management Company, LLC                     Croatian Fraternal Union of America
 Bank of America Merrill Lynch Proprietary   PNC Bank, N.A.
 Trading                                     Manhattan Life Insurance
 GSO Capital Partners L.P.                   Flow Traders U.S., LLC
 Verition Fund Management, LLC               KSKJ Life American Slovenian Catholic
 CTC Alternative Strategies, LTD             Union
 Invesco Capital Management, LLC             Aristotle Capital Management, LLC
 Cable Car Capital, LLC                      CapitalatWork - Foyer Group (Belgium)
 Highbridge Capital Management, LLC          International City Management Association
 Marathon Asset Management, LTD              Retirement Corporation
 Deutsche Bank Securities, Inc.              GIA Partners, LLC
 BNP Paribas Asset Management France         Selected Funeral and Life Insurance
 Canal Insurance Company                     Company
 Manning & Napier Advisors, LLC              Bivium Capital Partners, LLC
 SMH Capital Advisors, LLC                   Lawson Kroeker Investment Management,
 PGIM, Inc.                                  Inc.
 LM Capital Group, LLC                       Murchinson, L.P.
 Altrius Capital Management, Inc.            Safeway Insurance Group
 Blackstone Liquid Credit Strategies, LLC    Diamond Insurance Group, LTD
 Ameritas Life Insurance Corp. of New York   TOBAM
 Goldman Sachs Asset Management, L.P.        SumRidge Partners, LLC
 (U.S.)                                      Lombard Odier Asset Management Europe,
 Asset Allocation & Management Company,      LTD
 LLC                                         New York City Comptroller's Office
 BlueCrest Capital Management (U.K.), LLP    Foxhill Capital Partners, LLC
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 UBS Securities, LLC                         Bed Bath & Beyond of Annapolis, Inc.
 Chartwell Investment Partners, LLC          Bed Bath & Beyond of Baton Rouge Inc.
 PFA Asset Management A/S                    Bed Bath & Beyond of Bridgewater Inc.
 Pharus Management S.A.                      Bed Bath & Beyond of East Hanover Inc.
 Safra Securities, LLC                       Bed Bath & Beyond of Falls Church, Inc.
 Shlomo Holdings, LTD                        Bed Bath & Beyond of Frederick, Inc.
 Citigroup Global Markets, Inc.              Bed Bath & Beyond of Gallery Place L.L.C.
 J.P. Morgan Securities, LLC                 Bed Bath & Beyond of Lexington Inc.
 Virtus Investment Advisers, Inc.            Bed Bath & Beyond of Louisville Inc.
 FBL Investment Management Services, Inc.    Bed Bath & Beyond of Norman Inc.
 BVK- Beamtenversicherungskasse des          Bed Bath & Beyond of Overland Park Inc.
 Kantons Zurich                              Bed Bath & Beyond of Paradise Valley Inc.
 Chicago Capital, LLC                        Bed Bath & Beyond of Portland Inc.
 Finlabo SIM S.p.A.                          Bed Bath & Beyond of St. Louis Inc.
 Mont Blanc Capital Management AG            Bed Bath & Beyond of Virginia Beach Inc.
 USA Life One Insurance Company of           Bed Bath & Beyond of Woodbridge Inc.
 Indiana                                     Deerbrook Bed Bath & Beyond Inc.
 Invesco Advisers, Inc.                      Alamo Bed Bath & Beyond Inc.
 SG Americas Securities, LLC                 Bed Bath & Beyond of Arundel Inc.
 AllianceBernstein, L.P. (U.S.)              Bed Bath & Beyond of Birmingham Inc.
 BondBloxx Investment Management             Bed Bath & Beyond of Davenport Inc.
 Corporation                                 Bed Bath & Beyond of Edgewater Inc.
 Fidelity Management & Research Company,     Bed Bath & Beyond of Fashion Center, Inc.
 LLC                                         Bed Bath & Beyond of Gaithersburg Inc.
 MacKay Shields, LLC                         Bed Bath & Beyond of Knoxville Inc.
 Alta Capital Management, LLC                Bed Bath & Beyond of Lincoln Park Inc.
 DBX Advisors, LLC                           Bed Bath & Beyond of Mandeville Inc.
 Millenium Advisors, LLC                     Bed Bath & Beyond of Opry Inc.
                                             Bed Bath & Beyond of Palm Desert Inc.
 Debtor                                      Bed Bath & Beyond of Pittsford Inc.
 Bed Bath & Beyond Inc.                      Bed Bath & Beyond of Rockford Inc.
 BBB Canada LP Inc.                          Bed Bath & Beyond of Towson Inc.
 BBB Value Services Inc.                     Bed Bath & Beyond of Waldorf Inc.
 BBBY Management Corporation                 Bed Bath & Beyond of Manhattan, Inc.
 BBBYCF LLC                                  Springfield Buy Buy Baby, Inc.
 BBBYTF LLC                                  Buy Buy Baby of Totowa, Inc.
 Bed Bath & Beyond of California Limited     Buy Buy Baby of Rockville, Inc.
 Liability Company                           Of a Kind, Inc.
 bed 'n bath Stores Inc.                     One Kings Lane LLC
 Buy Buy Baby, Inc.                          Harmon of Caldwell, Inc.
 BWAO LLC                                    Harmon of Franklin, Inc.
 Chef C Holdings LLC                         Harmon of Hackensack, Inc.
 Decorist, LLC                               Harmon of Hartsdale, Inc.
 Harmon Stores, Inc.                         Harmon of Massapequa, Inc.
 Liberty Procurement Co. Inc.                Harmon of New Rochelle, Inc.
 San Antonio Bed Bath & Beyond Inc.          Harmon of Old Bridge, Inc.
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 Harmon of Raritan, Inc.                      Greg Dyer
 Harmon of Totowa, Inc.                       Laura Crossen
 Harmon of Wayne, Inc.                        Lynda Markoe
 Harmon of Yonkers, Inc.                      Scott Lindblom
 Harmon of Brentwood, Inc.                    Bart Sichel
 Harmon of Carlstadt, Inc.                    Mark Danzig
 Harmon of Greenbrook II, Inc.                Camille Fratanduono
 Harmon of Hanover, Inc.                      Marjorie Bowen
 Harmon of Manalapan, Inc.                    Harriet Edelman
 Harmon of Melville, Inc.                     Jeffrey Kirwan
 Harmon of Newton, Inc.                       Shelly Lombard
 Harmon of Plainview, Inc.                    Joshua Schecter
 Harmon of Rockaway, Inc.                     Minesh Shah
 Harmon of Shrewsbury, Inc.                   Andrea Weiss
 Harmon of Westfield, Inc.                    Ann Yerger
                                              Patty Wu
 Debtor Professional                          Jonathan Foster
 Kirkland & Ellis LLP
 AlixPartners LLP                             Equity Shareholder
 Lazard Frères & Co. LLC                      BlackRock Inc
 A&G Realty Partners, LLC                     Vanguard Group Inc
 Cole Schotz P.C.
 Kirkland & Ellis International LLP           Freight Provider
 Kroll Restructuring Administration LLC       Federal Express

 Depository Banks                             Guarantor
 JPMorgan                                     Bed Bath & Beyond Inc.
 Wells Fargo                                  BBB Canada LP Inc.
 Key Bank                                     BBB Canada Ltd.
 Fifth Third                                  BBB Value Services Inc.
 US Bank                                      BBBY Management Corporation
 Banco Popular                                BBBYCF LLC
 First Hawaiian                               BBBYTF LLC
 Union Bank                                   Bed Bath & Beyond Canada L.P.
 BB&T                                         Bed Bath & Beyond of California Limited
 SSB/Morgan Stanley                           Liability Company
 UBS                                          bed 'n bath Stores Inc.
 Scotia Bank                                  Buy Buy Baby, Inc.
                                              BWAO LLC
 Director/Officer                             Chef C Holdings LLC
 Mara Sirhal                                  Decorist, LLC
 Wade Haddad                                  Harmon Stores, Inc.
 Susie Kim                                    Liberty Procurement Co. Inc.
 David Kastin
 Toni-Anne Andrisano                          Insurance Provider
 Sue Gove                                     FACTORY MUTUAL INS. CO.
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 MULTIPLE                                    STATE NATIONAL INSURANCE
 General Security Indemnity Company of       COMPANY, INC. (CANOPIUS)
 Arizona                                     CONTINENTAL INSURANCE
 Old Republic Union Insurance Company        COMPANY (CNA)
 Mercer Insurance Company                    SYNDICATE 2623 / 623 AT LLOYD'S OF
 UNDERWRITERS AT LLOYD'S,                    LONDON (BEAZLEY)
 LONDON (HISCOX)                             AXIS SURPLUS INSURANCE
 AFFILIATED FM INSURANCE                     COMPANY
 COMPANY                                     SAFETY SPECIALTY INSURANCE
 FM GLOBAL DE MEXICO, S.A. de C.V.           COMPANY
 SAFETY NATIONAL CASUALTY                    ARCH SPECIALTY INSURANCE
 CORPORATION                                 COMPANY
 THE INSURANCE COMPANY OF THE                STARR SURPLUS LINES INSURANCE
 STATE OF PENNSYLVANIA (AIG)                 COMPANY
 AIG INSURANCE COMPANY OF                    ALLIANZ GLOBAL RISKS US
 CANADA                                      INSURANCE COMPANY
 Insurance Corporation of British Columbia   SCOTTSDALE INSURANCE COMPANY
 (ICBC)                                      (NATIONWIDE)
 AIG                                         AIG SPECIALTY INSURANCE
 XL INSURANCE AMERICA, INC.                  COMPANY
 NAVIGATORS INSURANCE COMPANY                ALLIED WORLD SPECIALTY
 (HARTFORD)                                  INSURANCE COMPANY
 ENDURANCE AMERICAN INSURANCE                BERKLEY ASSURANCE COMPANY
 COMPANY (SOMPO)                             CERTAIN UNDERWRITERS AT
 ACE PROPERTY & CASUALTY                     LLOYD'S - SYNDICATE 1183
 INSURANCE COMPANY (CHUBB)                   (VALIDUS)
 NATIONAL CASUALTY COMPANY                   LIBERTY SURPLUS INSURANCE
 (NATIONWIDE)                                CORPORATION
 THE OHIO CASUALTY INSURANCE
 COMPANY (LIBERTY MUTUAL)                    Interested Party
 NATIONAL UNION FIRE INS. CO. OF             Ares Management
 PITTSBURGH, PA (AIG)                        Sycamore Partners
 FEDERAL INSURANCE COMPANY                   Cerberus Capital Management
 NATIONAL UNION FIRE INS. CO. OF             Ryan Cohen
 PITTSBURGH, PA                              Putman Investments
 HUDSON INSURANCE COMPANY                    Sleep Country Canada
 (EUCLID)                                    Authentic Brands
 GREAT AMERICAN INSURANCE                    CSC Generation, Inc.
 COMPANY                                     Interweave
 ZURICH AMERICAN INSURANCE                   Michaels Stores, Inc.
 COMPANY                                     Blue Torch Capital
 ARCH INSURANCE COMPANY                      Centerbridge Partners
 ARGONAUT INSURANCE COMPANY                  Citi
 BERKSHIRE HATHAWAY SPECIALTY                JPM
 INSURANCE COMPANY                           MidCap Financial
                                             Silver Point Capital
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 SB360 Capital Partners                      UE 675 Route 1 LLC
 Hudson Bay Capital                          Closter Marketplace (EBA), LLC
 Angelo Gordon                               Super, LLC
                                             Brentwood Plaza LLC
 Landlord                                    Daly City Serramonte Center, LLC
 Ikea Property, Inc                          Morris Plains Holding UE LLC
 Dadeland Station Associates                 Enid Two, LLC
 Elite Development Group LLC                 Urstadt Biddle Properties
 RXR 620 Master Lessee LLC                   675 AOA Owner LLC
 270 Greenwich Street Associates LLC         RK Coral Palm Plaza, LLC
 West 64th Street LLC                        The Stop & Shop Supermarket Company
 W.B.P. Central Associates, LLC              LLC
 KRG New Hill Place, LLC                     FR Assembly Square, LLC (180-1008)
 LG-BBB, LLC                                 Watchung Square Associates, LLC
 Totowa UE LLC                               Ramsey Interstate Center LLC
 Federal Realty Investment Trust             JLP-Novi LLC
 Gateway Fairview, Inc.                      MFS Eastgate-I, LLC
 Brixton Beaumont, LLC                       JG ELIZABETH II, LLC
 DC USA Operating Co., LLC                   VF Center Associates, L.P.
 Ogden CAP Properties                        IRC Retail Centers
 LPC Retail Accounting                       MLO Great South Bay LLC
 Congressional North Associates Limited      Poughkeepsie Plaza Mall, LLC
 Partnership                                 North Village Associates
 Belz Investco, GP                           293-305 Route 22 East, LLC
 RPT Realty L.P.                             PL DULLES LLC
 Tyler Broadway/Centennial, LP               Eager Road Associates West, LLC
 200-220 West 26 LLC                         Newburgh Mall Ventures LLC
 1019 Central Avenue Corporation             Cherry Hill Retail Partners LLC
 KRG Plaza Green LLC                         KRG Miami 19th Street II, LLC
 KRG Livingston Center LLC                   Herricks Mineola, LLC
 Section 14 Development Co.                  Federated Associates
 Schnitzer Stephanie, LLC                    3600 Long Beach Road, LLC
 Brixmor GA Westminster LLC                  Daly City Partners I, L.P.
 IRC University Crossings, L.L.C.            Federal Realty Investment Trust Property
 SF WH Property Owner LLC                    #1217
 Downey Landing SPE, LLC                     Center Developments Oreg., LLC
 Oak Street Investment Grade Net Lease       G&I IX Kildeer LLC
 Fund Series 2021-1, LLC                     DDRA Tanasbourne Town Center, LLC
 Beatty Limited Partnership                  Sigfeld Realty Marketplace, LLC
 Jeffrey Management Corp                     81 Associates, LLC
 R&F Garden City, LLC                        Edison EHNJ001 LLC
 Route 206 Northbound LLC                    DDRTC Village Crossing LLC
 Crocker Park Phase III, LLC                 Savi Ranch Group, LLC
 Encinitas Town Center Associates I, LLC     Orchard Hill Park
 Wutsboro Associates, LLC                    Roxville Associates
 Ramco-Gershenson Properties, L.P.           Edison DENJ001 LLC
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 JLP-Harvard Park LLC                        Silvertown Inc.
 The Strip Delaware LLC                      CTC Phase II, LLC
 Meridian Mall Limited Partnership           Paramount JSM At Jenkintown, LLC
 Farley Realty Associates                    Alexander's Rego Shopping Center, Inc.
 Brixmor Hale Road LLC                       Joule Las Palmas Owner, LLC
 MSS Millburn Realty Co.                     Palouse Mall LLC
 North Attleboro Marketplace II LLC          W/S Hadley Properties II LLC
 SDC/Pacific/Youngman-Santa Ana              Sunset & Vine Apartment
 MP Northglenn LLC                           Edison BRMA001 LLC
 Germantown E&A , LLC                        Newtown Bucks Associates, LP
 KDMM LLC and ABAH LLC                       Pavilions at Hartman Heritage, LLC
 DDR Guilford LLC                            Mission Viejo Freeway Center
 Rancho Texarkana Investors, LLC             BG Monmouth, LLC
 Ridge Park Square, LLC                      Promenade Delaware, LLC
 SLO Promenade DE LLC                        M&J Big Waterfront Market, LLC
 V&V Stores, Inc.                            Rainbow Arroyos Commons, LLC
 Highland Commons Assoc., LLC                Rolling Hills Plaza LLC
 Mansell Crossing Retail LP                  Simsbury Commons LLC
 Mad River Development LLC                   Northington Mechanicsburg Investors, LLC
 Rosemont 2019, LLC                          DDR Creekside LP
 Ruscio Management LLC                       Seritage SRC Finance LLC
 RPT Realty, L.P.                            Federal Realty Partners LP
 BIT Holdings Sixty-Three, Inc.              Jefferson Pointe SPE, LLC
 Talisman Towson Limited Partnership         Christiana Town Center , LLC
 Main Street At Exton LP                     Concord Investment CO
 Greenwich Place Partners, LLC               Pappas Laguna LP
 Barrywoods Holdings, LLC                    Ranch Town Center, LLC
 BVA Woodhill LLC                            Jaydor Bleeker Realty Sub II
 Garfield-Southcenter LLC                    Northway Mall Properties, LLC
 New Plan of West Ridge, LLC                 College Plaza Station LLC
 ROIC California, LLC                        Newmarket Square, Ltd.
 AGC Pacific Coast Plaza, LLC                Columbus Town Center II, L.L.C.
 IVT Parke Cedar Park LLC                    CFH REALTY III/ SUNSET VALLEY,
 Mad River Development LLC                   L.P.
 Spring Ridge, LP                            Wallace Real Estate Co.
 Lane Avenue 450 LLC                         W.B.P. CENTRAL ASSOCIATES, LLC
 Agree Grand Chute WI LLC                    KMO-361 (Paramus) LLC
 Columbiana Station E&A , LLC                JLP Kentwood
 Dewcom, LLC                                 Hamilton TC, LLC
 THF Shawnee Station LLC                     CR Oakland Square, LLC
 Commons at Issaquah, Inc.                   36 Monmouth Plaza LLC
 Candlewood Lake Road, LLC                   Rainier Summit Woods Acquisitions, LLC
 Columbia Square Kennewick, LLC              Valley and Plainfield Associates, L.P.
 Capstone Marketplace LLC                    THF Harrisonburg Crossings, LLC
 Edison NNVA001 LLC                          ARC CLORLFL001, LLC
 Mississippi ADP, LLC                        271 South Broadway LLC
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 Studio City East 93K, LLC                  Jubilee LP
 MCV23 LLC                                  Scottsdale Fiesta Retail Center, LLC
 Ronald Benderson 1995 Trust                The Centre at Deane Hill LLC
 M.O.R. Snowden Square Limited              Five Points Revocable Trust
 Partnership                                Middletown Shopping Center I, LP
 Dollinger-Westlake Associates              IRC Retail Centers
 Edgewood Retail LLC                        Weingarten Nostat Inc.
 North Park Crossing, LC                    The Grewe Limited Partnership
 Finmarc Wildewood LLC                      JDN Real Estate Hamilton, LP
 Gainesville Associates                     SRK Lady Lake 21 SPE, LLC
 Grandbridge Real Estate Capital LLC        CP Venture Five-AV LLC
 WMG Meadows, LLC                           SVAP II Creekwalk Village, LLC
 DDR Carolina Pavilion LP                   Jemal's Boulevard L.L.C.
 ARC CLORLFL001, LLC-Lockbox                AE Holdings I, LLC
 CSM West Ridge Inc                         WRI/Raleigh, LP
 Midstate Owner LLC                         KRG Market Street Village, L.P.
 Bristol-Warner Investors, LLC              Federal Realty - Barracks Rd (500-2070)
 USPP Fischer Market Place, LLC             East Chase Properties, LLC
 Sunnybrook Partners, L.L.C.                Federal Realty - Gratiot S.C. (500-1220)
 Chandler Village Center, LLC               Willowbrook Town Center LLC
 Premier Centre, LLC                        Pleasant Hill Crescent Drive Investors LLC
 Delta & Delta Realty Trust                 Duluth (Gwinnett) SSR, LLC
 Brixmor GA Fashion Corner, LLC             DDR CAROLINA PAVILION LP
 Hingham Launch Property LLC                Meridian Kellogg LLC
 SanTan MP LP                               GG Midlothian TC, LLC
 Charter Warwick, LLC                       Town Pointe Associates
 Rosedale Commons LP                        Oak Street Investment Grade Net Lease
 Shreve Center DE L.L.C                     Fund Series 2021-1, LLC
 The Crossing at 288 Phase 2, Ltd.          WRI-URS South Hill, LLC
 National Retail Properties, LP             Valley Hills Mall LLC
 Brookwood Capital Partners LLC             Inland Commercial Real Estate Services
 Sanzari 89 Associates LP                   LLC
 Riverview Plaza (E&A), LLC                 Wood Stone Plano Partners LLC
 Jubilee - Cranberry Equity, LLC            EIG Wanamaker, LLC
 Metropolitan Life Insurance Company        CMR Limited Partnership
 Hamilton Properties                        Crossroads Canada, LLC
 Equity One (Florida Portfolio) LLC         NPMC Retail, LLC
 ARG TTRALNC001, LLC                        Weingarten Realty Investors - Co. 001
 TKG - Manchester Highlands Shopping        BVC Oakwood Commons Inc.
 Center , LLC                               Spirit VC Victoria TX LLC
 DFG-BBB Monroe, LLC                        ORF V Sugar Creek Plaza, LLC
 Water Tower Square Associates              I-Southport LLC
 Ramco-Gershenson Properties L.P.            Edison BRMA002 LLC
 Lindale Holdings LLC and Lindale           Decatur Realty LLC
 Holdings II LLC                            Skyway Regional Shopping Center L.L.C
 Davenport CRG LLC                          Regency Centers LP
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 SREIT Palm Beach Lakes Blvd., L.L.C.         IA Matthews Sycamore, L.L.C.
 Castle Ridge Associates                      Oak Street Investment Grade Net Lease
 Dillon Ridge Marketplace III LLC             Fund Series 2021-2 LLC
 12535 SE 82nd Ave LLC                        Brixmor Holdings 6 SPE, LLC
 Regency Centers, L.P.                        Sunmark Property, LLC
 Frontier Plaza, LLC                          Canton Marketplace Owner LLC
 Rainier Colony Place Acquisitions LLC        North Massepequa, LLC
 TFP Limited Real Estate Development          ARG SSSTRPA001, LLC
 Hitchcock Plaza, LLC                         Broadway Belvedere LLC
 DS Properties 18 LP                          CW Northridge Plaza LLC
 Federal Realty Investment Trust Property     RREEF America REIT II Corp. MM
 #1180                                        31535 Southfield Road LLC
 UE 675 Route 1 LLC                           Alpine Cherry Creek LLC
 Canton Corners Ford Road LLC                 Hanes M. Owner, LLC
 GLP Flint LLC                                W/S Brunswick Properties II LLC
 MDC Coastal I, LLC                           Truss Realty Co.
 UE 675 Paterson Avenue LLC                   Seaview Acquisition LLC
 Simon Property Group LP                      The Shoppes At Hamilton Place CMBS
 Paramount Plaza at Brick LLC                 LLC
 DDRTC Marketplace at Mill Creek LLC          S & E Realty Company, Inc
 IRC Retail Centers                           National Retail Properties, LP
 ROIC California, LLC                         Benchmark-Clarence Associates, LLC
 Crestview Hills Town Center LLC              KRG Southlake, LLC
 ARG SPSPRIL001, LLC                          Vestar Best In The West Property LLC
 ORF VII Felch Street, LLC                    RAF Johnson City LLC
 Tamarack Village Shopping Center, LP         Serota Islip NC, LLC
 SIPOC, LLC                                   A & W Acquisitions, LLC
 BVA Towne Square LLC                         Springfield Plaza, LLC
 BRE DDR IVA Southmont PA LLC                 Pavilions at Hartman Heritage, LLC
 PP-Gaston Mall L.L.C.                        Realty Income Properties 27, LLC
 McKinley Mall Realty Holding, LLC            Whitemak Associates
 Sycamore Browns Valley, LLC                  Oakland Iron Works Associates
 Grove Court Shopping Center LLC              South Frisco Village SC, L.P.
 Grand Mesa Center LLC                        MCS-LANCASTER DE HOLDING, LP
 HRTC I LLC                                   First Real Estate Investment Trust of NJ
 Rancho Dowlen, LLC                           Levin Management Corporation
 RPAI King's Grant II Limited Partnership     ARG PSALBNM001, LLC
 Casto-Oakbridge Venture Ltd                  EREP Broadway Commons I, LLC
 168th and Dodge, LP                          AK-SAR-BEN Village LLC
 Houma LA LLC                                 KRG Southlake, LLC
 International Speedway Square, LTD.          Governors SPV LLC
 NPP Development, LLC                         PGS Burlington and Tower Burlington, LLC
 Old Bridge Market Place II, LLC              Dothan Pavilion Group, LLC
 CR Hagerstown, LLC                           Mountain Grove Partners, LLC
 Brixmor/IA Delco Plaza, LLC                  GGCal, LLC
 ARC SMWMBFL001, LLC                          Mishorim Gold Properties, LP
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 28th Street Management Company, LLC       Columbia Tech Center, LLC
 Fidelity Totowa Associates LLC            Donahue Schriber Realty Group, L.P.
 BRE/Pearlridge LLC                        Congressional Plaza Associates LLC
 HGREIT Edmondson Road LLC                 Chandler Festival SPE LLC
 DDR Southeast Snellville, LLC             EIG Grand Island, LLC
 BRE DDR Flatacres Marketplace LLC         Delco LLC
 CT Center S.C., LP                        MGP IX Properties, LLC
 Agree 1031, LLC                           T L Street Marketplace NE, LLC
 RAF Jackson LLC                           Brixmor GA Springdale/Mobile Limited
 TKG Paxton Towne Center Development,      Partnership
 LP                                        B33 Maple Grove II LLC
 CPT Arlington Highlands 1, LP             Arrowhead Palms, L.L.C.
 Whitemak Associates & PREIT               Paterson Place Durham, LLC
 Northgate Mall Partnership                TKG Biscayne, LLC
 Brixmor Holdings 6 SPE, LLC               Crosswinds St. Pete, LLC
 Chico Crossroads, LP                      Easton Market Limited Liability Company
 Golden Isles Plaza, LLC                   RK Pembroke Pines, LLC
 CR Mount Pleasant LLC                     OLIVET KOM LLC
 Epps Bridge Centre Property Company,      Lilac19 LP
 LLC                                       RPT Realty L.P.
 R.K. Middletown, LLC                      Livesey East LLC
 SBLO Barrett Pavilion, LLC                AVR CPC Associates, LLC
 Village Developers                        Brixton Rogue, LLC
 Conroe Marketplace S.C, L.P.              BV Southwind, LLC
 W-ADP Harvest Junction OP Owner VIII      THF/MRP Tiger Town, LLC
 L.L.C.                                    Bradenton I, LLC
 IA Sarasota Tamiami, L.L.C.               Shrewsbury Commons
 DRP Tulsa Hills Property Owner, LLC       Medistar Parkwest JV, Ltd.
 R.E.D. Capital Management, L.L.C.         ACS Fort Smith Pavilion AR, LLC
 UH US Lynncroft 2019 LLC                  RPT Realty, L.P.
 DPEG Fountains, LP                        Stram Associates
 BREIT Bingo Holdings LLC                  The Shops of Tupelo LLC
 ARG FSBROWI001, LLC                       Fairview Shopping Center, LLC
 UE 675 Route 1 LLC                        Inland National Real Estate Services LLC
 V & V 224 Limited                         Bldg 7503
 Evergreen -1-10 & Ray, L.L.C.             Allan A. & Beverly M. Sebanc
 Pioneer Hills SPE, LLC                    Bayer Development Company, L.L.C.
 Oaks Square Joint Venture                 National Retail Properties, LP
 GRE Altamonte LP                          Almaden Plaza Shopping Center Inc.
 Mission Valley Shoppingtown, LLC          La Frontera Improvements, LLC
 Town & Country (CA) Station L.P.          KRG Temecula Commons, LLC
 Mall at Potomac Mills, LLC                Oak Street Investment Grade Net Lease
 Valley Square I, L.P.                     Fund Series 2021-2 LLC
 RAF Lake Charles LLC                      Bowles Village Center LLC
 Governors Square Plaza                    Parkway Crossing East Shopping Center LP
 Chase Green Mountain L.P.                 Park West Village Phase I LLC
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 KSI Cary 483 LLC                            Shelby Corners RE Holdings, LLC
 209-261 Junction Road Madison Investors     Denver West Village LP
 LLC                                         PTC TX Holdings, LLC
 The Promenade D Iberville, LLC              Eastridge Mall Realty Holding LLC
 Ireland Davie, Ltd.                         Redlands Joint Venture, LLC
 KRG Cool Springs, LLC                       KRG Avondale McDowell, LLC
 Arapahoe Crossings, L.P.                    Inland Commercial Real Estate Services
 DJD Partners 10, LLC                        LLC
 A-S 156 HQSC, L.P.                          RPT Realty, L.P.
 DeRito/Kimco Riverview, LLC                 Pittsburgh Hilton Head Associates
 Capital Mall Land LLC                       Santa Rosa Town Center
 Weatherford Dunhill LLC                     Dollinger-Ventura Associates
 Jim R. Smith                                Greendale 14, LLC
 2200 Lohman Ave. LLC                        NP Royal Ridge LLC
 G&I VII Carriage Crossing LLC               Cole San Marcos TX, LLC
 Riverchase Crossings, LLC                   Sunbury Gardens Realty Co.
 Amherst Crossing AMA Realty Ventures,       AE Holdings I, LLC
 LLC                                         13555 TTN, LLC
 KRG Shops at Moore LLC                      The Commons at Sugarhouse, LC
 Ramco-Gershenson Properties                 DPEG Fountains, LP
 ISM Holdings Inc.                           UG2 Solon OH, LP
 Santa Fe Mall Property Owner LLC            Hastings Village Investment Company, LP
 Whitestone Eldorado Plaza, LLC              Oak Leaf Property Management LLC
 GRE Broadmoor, LLC                          Loja WTP, LLC
 Redfield Promenade, L.P.,                   ARG CCALBNMOO1, LLC
 Jess Ranch Brea Retail XVI, LLC             ARC TCMESTX001, LLC
 CAL Development, LLC                        BRE DDR Lake Brandon Village LLC
 CD 2007-CD5 ED NOBLE PARKWAY,               FR Camelback Colonnade, LLC
 LLC                                         Greenwich Place Partners, LLC
 Holmdel GT, LP & GBR Holmdel Plaza,         CAL Development, LLC
 LLC                                         ORF V Sugar Creek Plaza, LLC
 Riviera Center Properties HITF The Dong     DDR Winter Garden LLC
 Koo Kim and Jong OK Kim Family Trust        Sir Barton Place, LLC
 PMH Properties, LLC                         0509 CC Ocala Joint Venture
 Taft Corners Associates                     SRL Crossings at Taylor LLC
 SM Eastland Mall, LLC                       ARC BHTVCMI001, LLC
 Mishorim Gold Houston, LLC                  SPG Doral Retail Partners, LLC
 MDC Coastal I, LLC                          KRG Rivers Edge, LLC
 Price/Baybrook LTD                          Mishorim Gold Houston, LLC
 HLT Partnership, L.P.                       Price/Baybrook Ltd.
 Chenal Place Properties LLC                 Flagler S.C., LLC
 HART TC I-III, LLC                          Anna Mscisz Trust
 Southridge Plaza, LLC                       BVA Deerbrook SPE LLC
 Pinnacle North II, LLC                      ACS Town Square Shopping Center IN,
 TPP 207 Brookhill LLC                       LLC
 Surprise Marketplace Holdings, LLC          Riverdale Cener North, LLC
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 KRG McDonough Henry Town, LLC               Empire East , LLC
 TKG Monroe Louisiana 2, LLC                 Panama City Beach Venture II, LLC
 Sir Barton Place, LLC                       KRG Plaza Green, LLC
 Demoulas Super Markets Inc.                 Thoroughbred Village LLC
 Aberdeen Commons Associates, LLC            McAllen TX LLC
 Overton Park Plaza Associates, LLC          Kimco Savannah 185, Inc
 University of Louisville Real Estate        CAC Atlantic LLC
 FoundationInc                               Northeast Holdings LLC
 Oak Street Investment Grade Net Lease       Prescott Gateway Mall Realty Holding, LLC
 Fund Series 2021-1, LLC                     CPC Gateway Plaza, LLC
 MGP XII Magnolia, LLC                       Durango Mall LLC
 BBP Partners, LLC                           The Shops at Summerlin South, LP
 Cobb Place Property, LLC                    Equity One (Florida Portfolio) LLC
 Forum Lone Star, L.P.                       GKT Shoppes At Legacy Park, L.L.C.
 US 41 AND I-285 Company LLC                 ALTO Northpoint LP
 Saul Holdings Limited Partnership           AJG Enterprises, LLC
 Forest Plaza, LLC                           BIT Investment Twenty Seven, LLC
 Ramco-Gershenson Properties LP              ZP No. 171, LLC
 SHI Owner LLC                               Brixmor GA Cobblestone Village At St.
 GM Realty of Bangor, LLC                    Augustine LL
 The Centre at Deane Hill, GP                0534 Pensacola Cordova Land, LLC
 Bayshore Mall Partners                      Tyler Broadway/Centennial, LP
 HART Miracle Marketplace                    Richards Clearview, LLC
 Northwoods III (San Antonio), LLC           FW Ridge Rock, Ltd
 Oracle Plaza, LLC                           Bell Tower Shops, LLC
 River Park Properties II                    Waldorf Shopper's World
 Downtown Summerlin                          Dorcich-Vidovich
 Ridgeport Limited Partnership               IVT Highlands at Flower Mound, LP
 SEP Augusta, LLC                            BV Waco Central Texas Marketplace, LLC
 BVCV Union Plaza LLC                        CSHV WoodlandsII, LP
 Coastal Grand CMBS LLC                      ARG SAABITX001, LLC
 Rushmore Crossing Associates, LLC           TKG Woodmen Commons, L.L.C.
 Spring Creek Improvements, LLC              Franklin Park SC LLC
 South Town Owner PR, LLC                    ORF VII Pelican Place, LLC
 DTS Properties LLC                          Rehoboth Gateway, LLC
 Petoskey Mall Associates LLC                Rockwall Crossing Ltd
 KRG Sunland LP                              Pivotal 650 California St., LLC
 Heritage Plaza, LLC                         Brown Ranch Properties LP
 IRC Retail Centers                          RPAI San Antonio Huebner Oaks GP L.L.C.
 ARC PCBIRAL001, LLC                         Rogers Retail, LLC
 ARC ASANDSC001, LLC                         ARG PSALBNM001, LLC
 Medistar Parkwest JV, Ltd.                  IMI Huntsville, LLC
 KIR Tukwila L.P.                            KBC Properties
 Maverick Investors LLC                      Running Hill SP, LLC
 Seritage SRC Finance LLC                     A-S 149 Island Gate Plaza, L.P.
 Caruth Acquisition LP                       BVCV Union Plaza LLC
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 WRI Mueller LLC                              Pace - 64 Associates, L.L.C.
 W.R. Partners, LLC                           OLP Champaign, Inc.
 MARKETPLACE WEST PARTNERS,                   DDR Del Sol LLC, S.E.
 LLC                                          Pearland RJR, LLC
 SOUTHAVEN TOWNE CENTER II, LLC               Regency Centers, L.P.
 GC Ambassador Courtyard, LLC                 B33 Erie Marketplace II LLC
 MS Flowood, LP                               Lynchburg (Wards Crossing), LLC
 Dreamland of Asheville Associates, L.L.C.    Middletown I Resources LP
 Mooresville Crossing, LP                     Heritage House South LLC
 WCK, LC                                      RPAI Lakewood, LLC
 Southgate Mall Montana II LLC                Santee Trolley Square 991, LP
 Lakeline Plaza, LLC                          PAPF Redding, LLC
 BVA Deerbrook SPE LLC                        Weingarten Nostat, Inc
 Agree Limited Partnership                    La Habra Westridge Partners, L.P.
 ITAC 192, LLC                                Trahwen, LLC
 WM Acquisition Delaware LLC                  Parkmall, LLC
 Windsor Park Estates Silverdale, LLC         Macerich Lakewood LP
 DT University Centre LP                      Marin Country Mart, LLC
 TJ Center LLC                                Premium Properties, L.L.C.
 HCL Texas Avenue LLC                         Manalapan UE, LLC
 PT-USRIF Meridian, LLC                       Asbury Shops, LLC
 IA LaQuinta Pavilion, L.L.C.                 Golden Spectrum Property
 TKG Mountain View Plaza, L.L.C.              University Mall Realty LLC
 Glacier 400 Wilbur LLC                       Champlain Center South Assoc., LLC
 CFH Realty III/Sunset Valley, L.P.           U.S. REIF Joliet SC Fee, LLC
 RPI Interests II, Ltd.                       Airport Plaza, LLC
 Telegraph Marketplace Partners II LLC        GG REIF I GATEWAY LLC
 BVA Avenue LLC                               ARC PRLAWKS001, LLC
 ARC CPFAYNC001, LLC                          St. Cloud Rainbow Village, LLC
 Siegen Lane Properties LLC                   Bridgewater Falls Station LLC
 KIR Soncy L.P.                               MM/PG (Bayfair) Properties LLC
 Creekstone Juban I, LLC                      The Stop & Shop Supermarket Company
 G&I IX Primrose Marketplace LLC              LLC
 CR West Ashley, LLC                          Green Ridge Holdings LLC
 UB Stamford LP                               Onni Burbank Town Center, LLC
 KMO-361 (Paramus) LLC                        TCSC, LLC
 Sunrise Mills (MLP), LP                      RCG-Sparks, LLC
 Mall at Gurnee Mills LLC                     E & A Northeast Limited Parnership
 ARG BBSCHIL001, LLC                          Quail Creek Crossing, Ltd
 RPT Realty, L.P.                             6034 Azle Avenue, LLC
 Glimcher SuperMall Venture, LLC              Central Mall Port Arthur Realty Holding,
 Northville Retail Center Joint Venture,      LLC
 L.L.C.                                       Stone Creek Retail, LLC
 Arboretum Retail, LLC                        Granite Park Retail, LLC
 Federal Realty Investment Trust              SP Bossier, L.L.C.
 Presidential Markets                         PMAT Waterside, L.L.C.
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 Tucson Shopping Center, LLC                  ATT OST Marketplace, LLC
 DDR Hendon Nassau Park II LP                 GK Holiday Village, LLC
 WF Kingsbury Center LLC                      ARC SSSEBFL001, LLC
 Uptown Group, LLC                            Brixmor GA Coastal Landing (FL) LLC
 Rockaway Town Court LLC                      Inland Commercial Real Estate Services
 Perrysburg Enterprise, LLC                   LLC
 Pacific Coast Highway Property, LLC          TPC Stonewall Investors I LC
 BCB Group Investements Tramonto              Manhattan Marketplace Shopping Center
 Marketplace LLC                              LLC
 Imperial Legacy Enterprises, LLC             DRP Market Heights Property Owner, LLC
 Crystall Mall, LLC                           QCM Partners, LLC
 IRC Retail Centers                           Ravid Lake St. Louis II LLC
 KRG Leesburg Fort Evans, LLC                 Alexandria Main Mall LLC
 WRG Homestead, LLC                           Coral Sky Retail LLC
 Pontiac Mall Limited Partnership             Dickman & Chernotsky
 Sandusky Pavilion                             Basser-Kaufman Real Estate
 DDRM Shoppes of Ellenwood LLC                KFT Enterprises No. 2 LP
 Valencia Marketplace I, LLC                  White Goose, LLC
 Acadia Realty Limited Partnership            VAM, Ltd.
 RPT Terra Nova Plaza LLC                     Paramount Newco Realty LLC Upland
 Almaden Plaza Shopping Center Inc.           Brixmor Property Owner II, LLC
 Brixmor Arborland LLC                        Central Shopping Centers CC, LLC
 NEWKOA, LLC                                  Dierbergs Osage Beach, LLC
 Lakes Mall Realty LLC                        ARG GFBOGKY001, LLC
 Shiloh Venture, LLC                          LTC Retail, LLC
 Brixmor SPE 1 LLC                            Canyon Park West, LLC
 Magnolia Commons SC, LLC                     GF Valdosta Mall, LLC
 Brighton Mall Associates LP                  MFC Longview LLC
 Har-Zait, LLC                                Pagosa Partners III, Ltd.
 Carson Valley Center LLC                     M&D Real Estate, LP
 Benderson 85-1 Trust                         South Frisco Village SC, L.P.
 Hill Management Services, Inc.               PAPF Dimond, LLC
 Camden Village LLC                           101 & Scottsdale, LLC
 Sparkleberry Square                          ABJ Group Advancement TX LLC
 Brixmor GA Delta Center (MI) LLC             CVSC, LLC
 Keene MZL LLC                                Revesco (USA) Properties of Bozeman, LP
 FHS Promenade, LLC                           Caparra Center Associates, LLC
 TKG Logan Town Centre, LP                    TPP Bryant LLC
 Will-Ridge Associates, LLC                   ML-MJW Port Chester SC Owner LLC
 Partridge Equity Group I LLC                 NADG/TRC Lakepointe LP
 Marketplace At Vernon Hills, LLC             Equity One (Florida Portfolio) LLC
 Pergament Mall of Staten Island LLC          Benderson Properties, Inc.,
 5737-5848 North Elizabeth Street Holdings,   Equity One (Northeast Portfolio) LLC
 LLC                                          The Family Center at Federal Way, LLC
 ExchangeRight Value-Add Portfolio 2          Jubilee Square, LLC
 Master Lessee, LLC                           Target Jefferson Boulevard, LLC
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 WM Associates, LP                         Newbridge, LLC
 Freedom Group, LLC                        Star-West Chicago Ridge, LLC
 CPT Louisville I LLC                      Westgate Mall CMBS, LLC
 ARG MPLTRAR001, LLC                       Kiemle & Hagood
 Westminster Crossing East, LLC            RPT Realty, L.P.
 Woolbright Wekiva, LLC                    Sunset Hills Owner LLC
 B Comm Realty, LLC                        Dartmouth Marketplace Associates, LLC
 Waterford Lakes Town Center, LLC          Hamilton Commons TEI Equities LLC
 TREA NW Forum at Carlsbad Owner LLC       KIR Brandon 011, LLC
 Belleclaire Hotel LLC                     DTL-SGW LLC & DTR1C-SGW LLC
 F&H Sinclair Properties                   Burlington Gateway Limited Partnership
 555 9th Street LP                         Hawthorne Investors 1 LLC
 IRC Retail Centers                        1301 East Gladstone Street Investors, LLC
 IRC Retail Centers                        Lake Success Shopping Center, LLC
 Equity One (Florida Portfolio) LLC        Centerra Retail Shops, LLC
 Caldwell Mooney Partners II, LP           Easton Market LLC
 SCA Tree 1, LLC                           Centerton Square Owners, LLC
 The Shoppes at Wilton LLC                 Cole MT Folsom CA, LP
 R.K. Associates VIII Inc.                 Site C LLC
 Wethersfield Shopping Center LLC          Grand Plaza Management, LLC
 Monroeville S.C. LP                       BBB Plaza Associates Ltd
 Berkshire Merrill Road, LLC               PRLHCAnnapolis TwnCntr Parole 162302
 News Company LLC                          Shadowwood Square, LTD
 UTC, LP                                   Oak Street Investment Grade Net Lease
 Regent Shopping Center Inc                Fund Series 2021-1, LLC
 TKG Coral North, LLC                      1700 Oxford Drive Partnership
 Beatty Limited Partnership                FLEMINGTON RETAIL, LLC
 RPAI Southwest Management LLC             The Widewaters Group, Inc.
 The Cafaro Northwest Partnership          KIR Montgomery 049, LLC
 Boyer Spring Creek, L.C.                  BRE DDR Fairfax Town Center LLC
 HCP Vista Ridge LLC                       Equity One (Southeast Portfolio) LLC
 Credi Chattanooga, LLC                    Dedham Real Estate Development LLC
 Kraus-Anderson, Incorporated              DDR Southeast Loisdale, L.L.C.
 JLPK-Orange Park, LLC.                    BCC II, LLC
 LaSalle Shopping Center LLC               Gateway Center Properties II, LLC
 TSO Winchester Station, LP                2180 Kings Highway DE LLC
 CP Venture Two, LLC                       4S Commons Partners, LLC
 G3C Temple, LLC                           Edens Plaza SC Owner LLC
 RK Hialeah, LLC                           Sayville Plaza Development Co.
 KIR Pasadena II L.P.                      RPAI Butler Kinnelon, L.L.C.
 Coral Sky Retail LLC                      Elmsford-119 Associates LLC
 RK Southington, LLC                       Salmar Properties LLC
 The Colonies-Pacific, LLC
 PRU/Desert Crossing II, LLC               Lender Advisor
 KIR Bridgewater 573, LLC                  M3 Partners LP
 M-III Olathe Station Property LLC         FTI Consulting Inc
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 Letter of Credit Beneficiary                CAC Atlantic LLC
 American Alternative Insurance (BBB)        Cahill, Doreen
 American Alternative Insurance (CTS)        Cohen, Judith
 RXR 620 Master Lessee LLC                   Council for Education and Research on
 Safety National Casualty                    Toxics (CERT)
 National Cart, LLC                          Davaco
 North American Corporation of Illinois      Davis, Chuck
 Travelers Casualty and Surety Company       Decatur Mall
 Dyson, Inc. (a)                             Design Toscano
 Safety National Casualty                    Ema Bell
 Arch Insurance Company                      Emcor Facilities Services, Inc.
 Chubb - Federal Insurance                   Environmental Health Advocates
 Dyson Canada Limited (CAD $1,500,000)       Floriey Industries
 Sentry Insurance                            Fox River Commons
 United States Fidelity and Guaranty         Frederick, Randall
 Breville USA                                Gastelum, Fernando
 Trisura Insurance (CAD $1,103,586.58)       Georgiou, Katerina
 AGUA MANSA COMMERCE PHASE I,                Giebe, Michael
 MATTEL INC.                                 Hayden, Shadi
 WELSPUN USA INC                             California
 BISSELL INTERNATIONAL TRADING               Hess, Donald and Padilla, Elizabeth
 MILBERG FACTORS, INC.                       Jeremy Patrick dba Eastland Electric
 THE CIT GROUP/COMMERCIAL                    Services
 SERVICES,                                   Johnson, Jeffrey
 WHIRLPOOL CORPORATION                       Kelly, Whitney
 Arch Insurance Company                      Lopez, Florencia
 J.B. HUNT TRANSPORT, INC.                   Mediant Communications Inc.
 BHF INTERNATIONAL LIMITED                   Munday, Janice
 NEWELL BRANDS INC.                          Najjar, Kelley Maloney and Talib
 MONAHAN PRODUCTS, LLC                       Newburgh Mall Ventures
                                             Kingston, Donette
 Letter of Credit Provider                   Only Kids Apparel, LLC
 JPMorgan Chase Bank, N.A.                   Pengcheng Si
 Bank of America, N.A.                       Place Services
                                             Raslavich, Anna
 Litigation                                  Reimer, Ruhi
 Abram, Harwick Chya                         Robinson, Jarrett, Simone and Laura
 Alan Freeman                                Sawgrass
 AML IP, LLC,                                Lloyd, Carol, Murphy, Michael and
 Amos, Sadina                                Taboada, Natalia
 Anderson, Carol                             Simon Nicholas Richmond
 APS&EE                                      Smith, Patricia
 Augenbaum, Todd                             Spalding, James
 Blue Cross Blue Shield (Anthem)             Spingarn, Michael and Sandra
 Burt-Deasy, Kelly                           SSS Village at West Oaks
 CA 5-15 West 125th LLC                      Systems, LLC
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 Team Worldwide Corporation                   Ordinary Course Professional
 Topalli, Leutrim                             EPSTEIN BECKER & GREEN PC
 Village of Schaumburg                        FAEGRE DRINKER BIDDLE & REATH
 Waite, Joshua                                LLP
 Williams and Frost Specialty Group           GREENSPOON MARDER LLP
 World Market of Texas LLC (fka Cost Plus     HILL WARD & HENDERSON PA
 of Texas Inc) v YSM Ponderosa                JACKSON LEWIS PC
                                              LESTER SCHWAB KATZ & DWYER
 Non-Debtor Affiliate                         LLP
 BBB Canada Ltd.                              MACKAY LAW INC
 Bed Bath & Beyond Canada L.P.                MORGAN LEWIS & BOCKIUS LLP
 BBB Mexico L.L.C.                            NORTON ROSE FULBRIGHT US LLP
 Bed Bath & Beyond Mexico S. de R. de         OSLER HOSKIN & HARCOURT LLP
 C.V.                                         RIKER,DANZIG,SCHERER,HYLAND &
 Importadora BBBMex, S de R.L. de C.V.        PERRETTI LLP
 Servicios BBBMex, S. de R.L. de C.V.         VINTAGE LAW, LLC
 Servicios, S. de R.L. de C.V.                PWC
 Oak Insurance Company Inc. IC                Deloitte
 Harmon of Roxbury, Inc.                      KPMG
                                              TRR/Avalara
 Office of the United States Trustee          AnyBill
 Andrew Vara                                  Cleary Gottlieb Steen & Hamilton LLP
 Martha Hildebrandt                           Crowell & Morning LLp
 Adela Alfaro                                 Epstein Becker Green, P.C.
 Kirsten K. Ardelean                          Huth Reynolds LLP
 Francyne D. Arendas                          Jackson Lewis, P.C.
 Michael Artis                                Lerner David LLP
 Lauren Bielskie                              McKool Smith
 Peter J. D’Auria                             Morgan Lewis
 Neidy Fuentes                                Perkins Coie LLP
 David Gerargi                                Pryor Cashman
 Tia Green
 Joseph C. Kern                               Secured Lender
 Daniel C. Kropiewnicki                       JPMorgan Chase Bank, N.A.
 Maggie McGee                                 PNC Bank, National Association
 Alexandria Nikolinos                         Wells Fargo Bank, National Association
 Tina L. Oppelt                               Bank of Montreal
 Angela Ortiz-Ng                              Bank of America, N.A.
 Robert J. Schneider, Jr.                     MUFG Union Bank, N.A.
 Adam Shaarawy                                TD Bank, N.A.
 Jeffrey Sponder                              Capital One, National Association
 Fran B. Steele                               Truist Bank
 James Stives                                 Goldman Sachs Bank USA
 William J. Ziemer                            Webster Bank
                                              TAO Talents, LLC
                                              Sixth Street Specialty Lending, Inc.
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 Sixth Street Lending Partners                 GRANITE TELECOMMUNICATIONS
                                               LLC
 Trade                                         PEM AMERICA INC.
 DYSON INC.                                    MERKLE INC
 DELOITTE CONSULTING LLP                       CARAWAY HOME, INC.
 FEDERAL HEATH SIGN COMPANY                    VERIFONE
 LLC                                           NCR CORPORATION
 KDM POPSOLUTIONS GROUP                        RESOURCE PLUS OF NORTH FLORIDA
 FACEBOOK, INC.                                CALIBER AMERICAS LLC
 IDX                                           TMS CONSTRUCTION INC
 NATIONAL TREE COMPANY                         ST. GEORGE DISTRIBUTION , CORP
 INTERSOFT DATA LABS INC                       CENTRIC SOFTWARE INC
 NORTH AMERICAN CORPORATION                    COMMERCE HUB
 KEURIG GREEN MOUNTAIN, INC.                   TESTRITE PRODUCTS CORP.
 BREVILLE USA INC.                             KPMG LLP
 COMMISSION JUNCTION INC                       HOMEDICS USA LLC
 CUISINARTS INC                                FIRST DATA CORP INTEGRATED PAY
 TATA CONSULTANCY SERVICES                     LOGIXAL INC
 RYDER INTEGRATED LOGISTICS                    CONTINENTAL WEB PRESS INC
 ORACLE AMERICA , INC                          COMM WORKS LLC
 DATA NETWORKS                                 MILLION DOLLAR BABY/VDC
 F 3 METALWORX INC                             GOTHAM TECHNOLOGY GROUP LLC
 Salesforce.com, Inc. (4-606198                ACOSTA INC./ACTIONLINK SERVICES,
 THE KNOT WORLDWIDE INC                        LLC
 KITCHENAID PORTABLE APPLIANCES                TERADATA CORPORATION, INC
 MADIX INC.                                    WESCO SERVICES LLC
 BLUE YONDER INC                               ZEMOGA, INC.
 Pinterest, Inc.                               PROS CHOICE BEAUTY CARE INC.
 BRIDGETREE LLC                                NAVCO SECURITY SYSTEMS
 MANHATTAN ASSOCIATES INC.                     HILCO MERCHANT RESOURCES LLC
 SAMA PLASTICS CORPORATION                     ARTSANA USA INC/JUVENILE
 US MAINTENANCE                                SPIN MASTER INC.
 KPRS CONSTRUCTION SERVICES, INC.              PREMIER WORKFORCE INC
 KEPLER GROUP LLC                              UDISENSE INC/NANIT
 HALO INNOVATIONS INC.                         STORFLEX
 MARLITE                                       TEALIUM INC
 LIFETIME BRANDS INC.                          MICROSOFT ONLINE INC
 INTELLIGRATED SYSTEMS LLC                     HOLT CONSTRUCTION CORP
 TEMPUR-PEDIC NORTH AMERICA LLC                BLENDJET INC.
 APPRISS RETAIL                                DATAPIPE INC
 GFA INC                                       MIRAKL INCORPORATED
 KRUPS/ ROWENTA, INC.                          WELSPUN USA INC/WAMSUTTA
 IBM CORPORATION-TR4                           ASSEMBLE PARTNERS
 VERIZON BUSINESS NETWORK                      VORNADO AIR LLC
 DAVACO, INC.                                  HIMATSINGKA/WAMSUTTA/TOWEL
 CITRUS AD INTERNATIONAL INC                   EVERYDAY HEALTH INC
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 ATLAS SIGN INDUSTRIES                     KEECO LLC / POLY-FILLED BED
 COWAY USA, INC.                           PILLOW
 DYSON CANADA LIMITED/CA                   YARD NYC
 MOBILE MINI TEXAS LIMITED                 E. MISHAN & SONS INC.
 PLACE SERVICES INCORPORATED               AFA PROTECTIVE SYSTEMS, INC.
 FISHER PRICE BABY GEAR                    WERNER NATIONAL LLC
 CLEARY GOTTLIEB STEEN &                   FLEXPRINT LLC
 RISKIFIED INC                             MODERN SPACE PACIFIC SERVICES
 WUNDERKIND CORPORATION                    ADEN & ANAIS INC.
 TINECO INTELLIGENT, INC                   SUNBEAM PRODUCTS
 NEWELL BRANDS CANADA                      INC./CALPHALON
 ULC/CA/VDC                                DYSON INC./PERSONAL ELECTRICS
 DISPLAYMAX INC                            CARPENTER COMPANY/THERAPEDIC
 NTT AMERICA, INC.                         KONE INC._FAC100071
 APOLLO RETAIL SPECIALISTS LLC             BRITAX CHILD SAFETY, INC.
 FEDERATED SERVICE SOLUTIONS               VERIZON WIRELESS
 SIMPLY MOMMY LLC/SNUGGLE ME               RICHARDS HOMEWARES INC.
 CELLA INC                                 BERKSHIRE BLANKET & HOME CO.,
 LEVTEX LLC                                INC.
 TOSHIBA GCS                               BABYBJORN INC.
 MY MOVE LLC                               SCHNEIDER LOGISTICS INC
 WILTON INDUSTRIES, INC.                   CARRIER CORPORATION
 KAZ USA, INC./PUR                         MLE DEVELOPMENT
 SWIFTWIN SOLUTIONS INC                    TECHNIBILT LTD
 COMFORT                                   APPLIED PREDICTIVE
 REVOLUTION/THERAPEDIC                     SAILPOINT TECHNOLOGIES INC
 MERCHSOURCE LLC                           J B HUNT TRANSPORT INC
 RACKSPACE HOSTING INC                     CRYSTAL OF AMERICA
 QUANTUM METRIC INC                        FUNDER AMERICA, INC.
 METRO ONE LOSS PREVENTION SERV            ONE NETWORK ENTERPRISES INC
 HUDSONS HOLIDAY HELPERS                   CROSSMARK INC
 AKAMAI TECHNOLOGIES INC                   ZADRO INC.
 PHILIPS CONSUMER LIFESTYLE                GINSEY INDUSTRIES INC.
 THE MORNING CONSULT LLC                   EURO-LINE APPLIANCES INC/CA/VDC
 FRIDABABY LLC                             SKIP HOP INC.
 STUDIO MOCOCO LLC                         BAY ISLAND, LLC
 EXPLORAMED NC7 INC./WILLOW                INSIDE EDGE COMMERCIAL
 GIBSON OVERSEAS, INC./COOKWARE            SF HOME DECOR LLC.
 NORITAKE/VDC                              SAFAVIEH
 EVENFLO COMPANY, INC.                     TYCO INTEGRATED SECURITY LLC
 THE NARRATIV COMPANY INC                  WORLD DISTRIBUTION SERVICES
 DESIGN PRODUCTIONS                        RR DONNELLEY AND SONS
 CCA AND B LLC                             COMPANY
 SUN INDUSTRIAL INC                        SBC ADVERTISING LTD
 ACCENTURE LLP                             KREBER
 IRON MOUNTAIN RECORDS MGNT                CISCO SYSTEMS CAPITAL CORP
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 ADOBE SYSTEMS INC                         Unsecured Noteholder
 FISHER PRICE TOYS                         BlackRock Advisors, LLC
 COPPER PEARL, INC.                        Western Asset Management Company, LLC
 SAS INSTITUTE INC                         CIGNA Investments, Inc.
 M BOOTH & ASSOCIATES LLC                  CastleKnight Management, L.P.
 WALKER EDISON FURNITURE CO.               Van Eck Associates Corporation
 LLC                                       BNP Paribas Securities Corporation
 WILLIAM CARTER CO.                        Morgan Stanley & Company, LLC
 CHAIN STORE MAINTENANCE, INC.             Mellon Investments Corporation
 WILLIAMS & FROST SPECIALTY GRP            HSBC Bank PLC
 O.M.I. INDUSTRIES                         J.P. Morgan Investment Management, Inc.
 CYBERSOURCE CORP                          Hotchkis and Wiley Capital Management,
 JONATHAN Y DESIGNS INC                    LLC
 HALO INNOVATIONS INC./VDC                 Seix Investment Advisors, LLC
 BUTTERBLU LLC                             California Public Employees Retirement
 UNITED RENTALS                            System
 BEACHWAVER CO., THE                       1832 Asset Management, L.P.
 SUMOLOGIC INC                             APG Asset Management US, Inc.
 LENNOX NATIONAL ACCOUNT                   Tennessee Farmers Mutual Insurance Co.
 PING IDENTITY CORPORATION                 Miller Value Partners, LLC
 ZIPLINE LLC                               Northwestern Mutual Investment
 BROADRIDGE                                Management Company, LLC
 MCG ARCHITECTURE                          Bank of America Merrill Lynch Proprietary
 REDWOOD SUPPLY CHAIN                      Trading
 SOLUTIONS                                 GSO Capital Partners L.P.
 DRM WASTE MANAGEMENT INC.                 Verition Fund Management, LLC
 PRGX USA INC                              CTC Alternative Strategies, LTD
 HALLMART COLLECTIBLES INC.                Invesco Capital Management, LLC
 SHARKNINJA OPERATING, LLC/CA              Cable Car Capital, LLC
 ITENTIAL INC                              Highbridge Capital Management, LLC
 Restore Capital                           Marathon Asset Management, LTD
                                           Deutsche Bank Securities, Inc.
 UCC Lien                                  BNP Paribas Asset Management France
 JPMORGAN CHASE BANK, N.A., AS             Canal Insurance Company
 ADMINISTRATIVE AGENT                      Manning & Napier Advisors, LLC
 AMERICAN GREETINGS                        SMH Capital Advisors, LLC
 CORPORATION                               PGIM, Inc.
 PAPYRUS-RECYCLED GREETINGS,               LM Capital Group, LLC
 INC.                                      Altrius Capital Management, Inc.
 VOXX ACCESSORIES CORPORATION              Blackstone Liquid Credit Strategies, LLC
 DIMENSION DATA NORTH AMERICA,             Ameritas Life Insurance Corp. of New York
 INC.                                      Goldman Sachs Asset Management, L.P.
 SOMERSET CAPITAL GROUP, LTD.              (U.S.)
 HALLMARK MARKETING COMPANY,               Asset Allocation & Management Company,
 LLC                                       LLC
                                           BlueCrest Capital Management (U.K.), LLP
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 Franklin Advisers, Inc.                     UBS Securities, LLC
 New Jersey Division of Investment           Chartwell Investment Partners, LLC
 Squarepoint OPS, LLC                        PFA Asset Management A/S
 Russell Investment Management, LLC          Pharus Management S.A.
 Carillon Tower Advisers, Inc.               Safra Securities, LLC
 Napier Park Global Capital (US), L.P.       Shlomo Holdings, LTD
 Aviary Capital Enterprises, Inc.            Citigroup Global Markets, Inc.
 Barclays Capital, Inc.                      J.P. Morgan Securities, LLC
 AQS Asset Management, LLC                   Virtus Investment Advisers, Inc.
 Mirabaud Asset Management, LTD              FBL Investment Management Services, Inc.
 Oppenheimer Asset Management Inc.           BVK- Beamtenversicherungskasse des
 Healthcare of Ontario Pension Plan          Kantons Zurich
 Pension Reserves Investment Management      Chicago Capital, LLC
 Board (PRIM)                                Finlabo SIM S.p.A.
 Zest S.A.                                   Mont Blanc Capital Management AG
 State Street Global Advisors (SSgA)         USA Life One Insurance Company of
 Muzinich & Company, Inc.                    Indiana
 Nykredit Bank A/S                           Invesco Advisers, Inc.
 Northern Trust Global Investments, LTD      SG Americas Securities, LLC
 Banco de Sabadell, S.A                      AllianceBernstein, L.P. (U.S.)
 Catholic Family Fraternal Of Texas          BondBloxx Investment Management
 Croatian Fraternal Union of America         Corporation
 PNC Bank, N.A.                              Fidelity Management & Research Company,
 Manhattan Life Insurance                    LLC
 Flow Traders U.S., LLC                      MacKay Shields, LLC
 KSKJ Life American Slovenian Catholic       Alta Capital Management, LLC
 Union                                       DBX Advisors, LLC
 Aristotle Capital Management, LLC           Millenium Advisors, LLC
 CapitalatWork - Foyer Group (Belgium)
 International City Management Association   Utility Provider
 Retirement Corporation                      JCP&L
 GIA Partners, LLC                           NEW JERSEY AMERICAN WATER
 Selected Funeral and Life Insurance         MIDAMERICAN ENERGY SERVICES
 Company                                     PSE&G CO
 Bivium Capital Partners, LLC                ENGIE RESOURCES LLC
 Lawson Kroeker Investment Management,       URSTADT BIDDLE PROPERTIES INC
 Inc.                                        EVERSOURCE
 Murchinson, L.P.                            THE GAS CO
 Safeway Insurance Group                     LOS ANGELES DEPT OF WTR & PWR
 Diamond Insurance Group, LTD                VEOLIA WATER NEW JERSEY
 TOBAM                                       SOUTHERN CALIFORNIA GAS CO
 SumRidge Partners, LLC                      CITY OF SANTA ROSA
 Lombard Odier Asset Management Europe,      DIRECT ENERGY BUSINESS
 LTD                                         PG&E
 New York City Comptroller's Office          MERCHANTVILLE PENNSAUKEN
 Foxhill Capital Partners, LLC               WATER
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 FAIRFAX WATER                             GEORGIA POWER
 WASHINGTON GAS                            CITY OF GLENDALE
 DOMINION ENERGY VIRGINIA                  XCEL ENERGY
 SAN DIEGO GAS & ELECTRIC                  TAMPA ELECTRIC
 COMED                                     HILLSBOROUGH CO BOCC
 NICOR GAS                                 JACKSON EMC
 PEPCO                                     GEORGIA NATURAL GAS
 FPL                                       COACHELLA VALLEY WATER DIST
 CITY OF SUNRISE                           SOUTHERN CALIFORNIA EDISON
 BGE                                       CITY OF AUBURN
 NORTH SHORE GAS                           PUGET SOUND ENERGY
 THE VILLAGE OF GURNEE                     CITY OF TULSA UTILITIES
 PSEGLI                                    OKLAHOMA NATURAL GAS
 SUFFOLK COUNTY WATER                      PUBLIC SERVICE CO OF OKLAHOMA
 AUTHORITY                                 JOHNSON COUNTY WASTEWATER
 NATIONAL GRID                             KCP&L
 PACIFIC GAS & ELECTRIC CO                 WATER DIST NO 1 OF JOHNSN CNTY
 VILLAGE OF SCHAUMBURG                     KANSAS GAS SERVICE
 VILLAGE OF COLONIE WATER DIST             PALM BEACH COUNTY WTR UTIL DPT
 CONSOLIDATED EDISON CO OF NY              CITY OF AUSTIN
 CONSUMERS ENERGY                          TEXAS GAS SERVICE
 CITY OF TROY WATER                        ALABAMA POWER CO
 CENTERPOINT ENERGY                        SPIRE
 MIAMI DADE WATER SEWER DEPT               TECO
 TUCSON ELECTRIC POWER                     TOWN OF BURLINGTON
 COMPANY                                   CONSERVICE
 CITY OF STERLING HEIGHTS WATER            VIRGINIA NATURAL GAS INC
 DTE ENERGY                                CITY OF INDEPENDENCE
 CITY OF WEBSTER                           CITY OF CHARLOTTESVILLE
 HOWARD COUNTY                             NEW MEXICO GAS CO
 DOWNERS GROVE SANITARY DIST               PNM
 VILLAGE OF DOWNERS GROVE                  ALBUQUERQUE BERNALILLO
 THE ILLUMINATING CO                       COUNTY
 COLUMBIA GAS OF OHIO                      NORTHVILLE TOWNSHIP WATER
 PROMENADE DELAWARE LLC                    DEPT
 AQUA PENNSYLVANIA                         CITY OF HUMBLE
 PECO PAYMENT PROCESSING                   AQUA OH
 CITY OF HIALEAH                           AMERICAN ELECTRIC POWER
 OHIO EDISON                               STARK CO METROPOLTN SEWER
 ROSEMONT COMMONS DELAWARE                 DIST
 LLC                                       MEMPHIS LIGHT GAS & WATER DIV
 DOMINION ENERGY OHIO                      PIEDMONT NATURAL GAS
 CITY OF PLANO                             DUKE ENERGY PAYMENT
 ATMOS ENERGY                              PROCESSING
 PEOPLES GAS                               TOWN OF CARY
 VILLAGE OF WILMETTE                       PSNC ENERGY
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 MUNICIPALITY OF BETHEL PARK               TOWN OF WILLISTON
 WEST PENN POWER                           VGS
 PENNSYLVANIA AMERICAN WATER               GREEN MOUNTAIN POWER CORP
 COLUMBIA GAS OF PENNSYLVANIA              PASADENA WATER AND POWER
 JORDAN TAX SERVICE INC                    UNITED WATER DELAWARE
 FORT BEND CO WCID #2                      VEOLIA WATER DELAWARE
 CITY OF SANTA CLARA                       DELMARVA POWER
 COLLIER COUNTY UTILITIES                  YORBA LINDA WATER DISTRICT
 CITY TREASURER                            CITY OF GENEVA
 TOWN OF CORTLANDT                         POTOMAC EDISON
 MADISON GAS & ELECTRIC                    FREDERICK CO MARYLAND
 ALLIANT ENERGY WP&L                       CITY OF CHANDLER
 CITY OF NAPERVILLE                        SRP
 SAN ANTONIO WATER SYSTEM                  SOUTHWEST GAS
 CPS ENERGY                                CHESTERFIELD COUNTY
 CITY OF TIGARD                            COLUMBIA GAS OF VIRGINIA
 NW NATURAL                                SRLLC SG FORT COLLINS LLC
 PGE                                       FORT COLLINS UTILITIES
 CALIFORNIA WATER SERVICE CO               CITY OF COLUMBIA
 CALIFORNIA WATER SERVICE                  SCE&G
 CITY OF OCEANSIDE                         MID CAROLINA ELECTRIC COOP
 AMEREN MISSOURI                           COLORADO SPRINGS UTILITIES
 REALPAGE UTILITY MANAGEMENT               SOUTH JERSEY GAS
 BRAINTREE WATER & SEWER DEPT              NV ENERGY
 BRAINTREE ELECTRIC LIGHT DEPT             TRUCKEE MEADOWS WATER AUTH
 CITY OF BOYNTON BEACH                     CITY OF RENO UTILITIES
 JEA                                       LINCOLN ELECTRIC SYSTEM
 AUGUSTA UTILITIES DEPT                    BLACK HILLS ENERGY
 COUNTY OF HENRICO VA UTILITY              MARTIN COUNTY UTILITIES
 CITY OF RICHMOND                          CITY OF CLEARWATER
 TOWNSHIP OF E HANOVER                     NIPSCO
 OGE                                       MISHAWAKA UTILITIES
 CITY OF OKLAHOMA CITY                     CITY OF VANCOUVER UTILITIES
 CITY OF ROSEVILLE WATER DEPT              CLARK PUBLIC UTILITIES
 WALTON EMC                                WE ENERGIES
 GRIEQY PRESIDENTIAL MARKETS               GRAND CHUTE UTILITIES
 CHARLES COUNTY GOVERNMENT                 NJ NATURAL GAS CO
 SOUTHERN MARYLAND ELEC COOP               UTILITY BILLING SERVICES
 CASEYVILLE TOWNSHIP SEWER                 SUMMIT UTILITIES ARKANSAS INC
 CITY OF O'FALLON                          ENTERGY
 AMEREN ILLINOIS                           OKLAHOMA ELECTRIC COOP
 HRSD                                      CITY OF NORMAN
 NEWPORT NEWS WATERWORKS                   APS
 DUBLIN SAN RAMON SERVICES DIST            CITY OF ANN ARBOR WATER UTIL
 KUB                                       SARASOTA COUNTY PUBLIC UTILITI
 CITY OF ST PETERSBURG                     THE CITY OF DAYTONA BEACH
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 MOUNT PLEASANT WATERWORKS                 CITY OF ROUND ROCK
 DOMINION ENERGY SOUTH                     THE CONNECTICUT WATER CO
 CAROLINA                                  CONNECTICUT NATURAL GAS CORP
 IOWA AMERICAN WATER                       CITY OF VISALIA
 MIDAMERICAN ENERGY CO                     OCONEE COUNTY WATER
 CITY OF DAVENPORT                         RESOURCES
 GAINESVILLE REGIONAL UTILITIES            CASCADE NATURAL GAS
 VILLAGE OF ELMSFORD                       BENTON PUD
 BATON ROUGE WATER CO                      CITY OF KENNEWICK
 SNOHOMISH COUNTY PUD                      CITY OF DALY CITY
 CITY OF LYNNWOOD                          NORTH BRUNSWICK TOWNSHIP
 ALDERWOOD WATER & WSTWTR                  CITY OF WINSTON SALEM
 DIST                                      CITY OF MIDLAND WATER DEPT
 PPL ELECTRIC UTILITIES CORP               EUGENE WATER & ELECTRIC BOARD
 UGI UTILITIES INC                         LUS
 MODESTO IRRIGATION DISTRICT               ILLINOIS AMERICAN WATER
 CITY OF BUFORD                            COLUMBIA GAS OF MARYLAND
 TOWN OF HEMPSTEAD DEPT OF WTR             CITY OF BUENA PARK
 CONTRA COSTA WATER DISTRICT               BRIGHTRIDGE
 CLECO POWER LLC                           JOHNSON CITY UTILITY SYSTEM
 CITY OF MANDEVILLE                        CASS COUNTY ELECTRIC COOP
 CITY OF ASHEVILLE                         CITY OF FARGO
 VEOLIA WATER PENNSYLVANIA                 CITY OF FORT WORTH WATER DEPT
 PP&L INC                                  CITY OF SAN LUIS OBISPO
 W HARRIS CO MUD 5                         SOCALGAS
 SEACOAST UTILITY AUTHORITY                CITY OF MERIDIAN
 MOULTON NIGUEL WATER                      IDAHO POWER
 DENVER WATER                              INTERMOUNTAIN GAS COMPANY
 BRUNSWICK GLYNN COUNTY JOINT              GREATER PEORIA SANITARY DIST
 LEE COUNTY UTILITIES                      PECO ENERGY
 TOMSA                                     NEWTOWN ARTESIAN WATER CO
 TOWN OF NORMAL                            PEOPLES
 NORTH SPRINGS IMPROVEMENT DIST            DUQUESNE LIGHT COMPANY
 DOMINION ENERGY                           MIDDLE TENNESSEE ELECTRIC
 CITY OF OREM                              THOROUGHBRED VILLAGE
 ROCKY MOUNTAIN POWER                      SOUTH LAKE WATER UTILITIES
 LGE                                       TRI COUNTY ELEC COOP INC
 LOUISVILLE WATER CO                       CEDAR RAPIDS MUNICIPAL UTIL
 SALT LAKE CITY PUBLIC UTILITES            ALLIANT ENERGY IPL
 BEVERLY HILLS WATER DEPT                  TEMUA
 MTMSA                                     GREENVILLE WATER
 NORTH WALES WATER AUTHORITY               TOWN OF DANVERS
 PALMETTO ELECTRIC COOPERATIVE             CITY OF WESTMINSTER
 BEAUFORT JASPER                           EL PASO ELECTRIC
 DUKE ENERGY                               EL PASO WATER
 TOWNSHIP OF SPRING                        AVISTA
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 INDIANA AMERICAN WATER                    CITY OF APPLE VALLEY
 CITY OF TAYLOR WATER DEPT                 DAKOTA ELECTRIC ASSOC
 VERSANT POWER                             LAKE COUNTY DEPT PUBLIC WORKS
 BANGOR WATER DISTRICT                     FRUITLAND MUTUAL WATER CO
 BANGOR NATURAL GAS                        CITY OF PUYALLUP
 MINNESOTA ENERGY RESOURCES                CAPE FEAR PUBLIC UTILITY AUTH
 ROCHESTER PUBLIC UTILITIES                SAGINAW CHARTER TWP WATER
 SPARTANBURG WATER SYSTEM                  DEPT
 CITY OF NOVI                              CHARLOTTE COUNTY UTILITIES
 CHARTER TOWNSHIP OF MERIDIAN              INDIANAPOLIS WATER CO
 CITY OF TUKWILA                           AQUA INDIANA
 RHODE ISLAND ENERGY                       AES INDIANA
 PPL UTILITIES                             CITIZENS ENERGY GROUP
 CITY OF ROCHESTER HILLS WT&SWR            CITY OF JACKSONVILLE
 CITY OF WICHITA                           CITY OF GASTONIA
 EVERGY                                    TXU ELECTRIC
 TOWN OF SALEM NH                          CITY OF TEMPLE
 LIBERTY UTILITIES NH                      CENTRAL MAINE POWER
 UNITIL                                    AURORA WATER
 LUMA ENERGY                               ELECTRIC CITY UTILITIES
 GOLDEN STATE WATER CO                     TOWN OF DILLON
 CITY OF BOCA RATON                        CITY OF HICKORY
 CITY OF TALLAHASSEE                       CITY OF HOUSTON
 HAMILTON TOWNSHIP                         CITY OF PASADENA WTR DEPT
 ATLANTIC CITY ELECTRIC                    CITY OF BEAVERTON
 CON EDISON                                PORTLAND GENERAL ELECTRIC
 CITY OF FT WAYNE UTILITIES                SUMMIT TOWNSHIP SEWER AUTH
 CITY UTILITIES                            PENELEC
 CITY OF SHREVEPORT                        SUMMIT TOWNSHIP WATER AUTH
 SOUTHWESTERN ELECTRIC POWER               NATIONAL FUEL
 SEMCO ENERGY GAS COMPANY                  BCWSA
 HOLLAND BOARD OF PUBLIC WORKS             TOWN OF AUBURN
 HOLLAND CHARTER TOWNSHIP                  AUBURN WATER DISTRICT
 FPL NORTHWEST FL                          TOWN OF MANCHESTER
 OKALOOSA GAS DISTRICT                     CITY OF FT LAUDERDALE
 DESTIN WATER USERS INC                    CITY OF MAPLE GROVE
 RAMSEY BOARD OF PUBLIC WORKS              WRIGHT HENNEPIN COOP ELECTRIC
 ROCKLAND ELECTRIC CO                      CITY OF MONROVIA
 CITY OF FRISCO                            MISSOURI AMERICAN WATER
 HUNTSVILLE UTILITIES                      METROPOLITAN ST LOUIS SWR DIST
 CITY OF BAKERSFIELD                       WACMA
 CITY OF NORTHGLENN                        DAYTON POWER & LIGHT CO
 SMUD                                      CITY OF BELLINGHAM
 SACRAMENTO COUNTY UTILTIES                CITY OF RALEIGH
 CITY OF SEAL BEACH                        CITY OF LYNCHBURG UTILITY BLLG
 FRUITPORT CHARTER TOWNSHIP                NYC WATER BOARD
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 ORANGE & ROCKLAND                         CITY OF SAVANNAH
 COLUMBUS WATER WORKS                      MADISON SUBURBAN UTILITY DIST
 LIBERTY UTILITIES GEORGIA                 METRO WATER SERVICES
 CITY OF TACOMA                            GORDONS CORNER WATER CO
 PIERCE COUNTY SEWER                       RIVERSIDE PUBLIC UTILITIES
 LAKEWOOD WATER DISTRICT                   CITY OF REDWOOD CITY
 PADRE DAM MWD                             CITY OF SANTA CRUZ MUNIE UTIL
 CITY OF TORRANCE UTILITIES                NASHUA WASTE WATER SYSTEM
 NASHVILLE ELECTRIC SERVICE                PENNICHUCK WATER
 HARPETH VLY UTILITIES DISTRICT            PINELLAS COUNTY UTILITIES
 BOROUGH OF TOTOWA                         TECO PEOPLES GAS
 SANTA MARGARITA WATER                     CITY OF EDMOND
 DISTRICT                                  CITY OF TYLER
 CITY OF WEST MELBOURNE                    TERREBONNE PARISH CONSOL
 CITY OF WOODBURY                          GOVNT
 GREENVILLE UTILITIES COMMISSN             CONSOLIDATED WATERWORKS DIST
 VILLAGE OF SKOKIE                         1
 HYANNIS WATER SYSTEM                      CITY OF NEWPORT
 CITY OF REDDING                           MANATEE CO UTILITIES DEPT
 CITY UTILITIES OF SPRINGFIELD             CITY OF HARRISONBURG VA
 MESA AZ                                   HARRISONBURG ELEC COMMISSION
 CITY OF LA HABRA                          WILTON WATER & SEWER
 CITY OF JACKSON                           AUTHORITY
 CITY OF MEQUON UTILITIES                  ST JOHNS COUNTY UTILITY DEPT
 CITY OF FLORENCE                          CITY OF DENTON
 CITY OF CORPUS CHRISTI                    CITY OF CHATTANOOGA
 WOODLANDS WATER MUD# METRO                TENNESSEE AMERICAN WATER
 LIBERTY UTILITIES NEW YORK                EPB
 CITY OF BRIGHTON                          CHATTANOOGA GAS
 ELIZABETHTOWN UTILITES                    CITY OF COEUR D ALENE
 KU                                        FAYETTEVILLE PBLC WRKS
 HARDIN COUNTY WATER DISTRICT#2            COMMSSN
 CITY OF MESQUITE                          CITY OF DUBUQUE
 NORTH LITTLE ROCK ELECTRIC                CITY OF EUREKA
 INDIAN RIVER COUNTY UTILITIES             AMERICAN WATER & ENERGY
 FLORIDA CITY GAS                          SAVERS
 CITY OF BEAUMONT                          CITIZENS WESTFIELD
 ENTERGY TEXAS INC                         CENTRAL HUDSON GAS & ELEC CORP
 CITY OF PORTAGE                           SACRAMENTO MUNIC UTILITY DIST
 THE UNITED ILLUMINATING CO                MARYLAND AMERICAN WATER
 SOUTHERN CONNECTICUT GAS CO               TOWN OF BEL AIR
 CITY OF LAKEWOOD                          HILL MANAGEMENT SERVICES INC
 CITY OF OCALA                             CITY OF PHOENIX
 GULF POWER                                CITY OF ISSAQUAH
 CITY OF LAFAYETTE                         AQUA OHIO INC
 MARIN MUNICIPAL WATER DISTRICT            LAKE COUNTY DEPT OF UTILITIES
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 AUTORIDAD DE ACUEDUCTOS Y                 TREASURER SPOTSYLVANIA
 CITY OF LAKE CHARLES                      COUNTY
 LOS ANGELES COUNTY                        METRO WATER DISTRICT
 CITY OF MONROE                            CITY OF WACO WATER OFFICE
 CITY OF ANTIOCH                           GREENLAWN WATER DISTRICT
 CITY WATER LIGHT & POWER                  METROPOLITAN UTILITIES DIST
 COLLEGE STATION UTILITIES                 OMAHA PUBLIC POWER DIST
 VILLAGE OF CHICAGO RIDGE                  SANTEE COOPER
 CITY OF DIBERVILLE                        CITY OF MYRTLE BEACH
 COAST EPA                                 RIVIERA UTILITIES
 CITY OF AVONDALE                          DAPHNE UTILITES
 CHARLESTON WATER SYSTEM                   CITY OF DURHAM
 PALMETTO UTILITIES INC                    EASTON SUBURBAN WATER AUTH
 JACKSON ENERGY AUTHORITY                  UGI SOUTH
 CARBONDALE WATER & SEWER                  CITY OF REDLANDS
 CORE ELECTRIC COOPERATIVE                 WASHINGTON CITY
 EPCOR                                     CITY OF SHERMAN
 CITY OF SURPRISE                          PWCSA
 DELTA CHARTER TOWNSHIP                    NOVEC
 LANSING BOARD OF WATER & LIGHT            MOUNT LAUREL MUA
 CONSOLIDATED UTILITY DISTRICT             MONROEVILLE MUNICIPAL AUTH
 CITY OF ABILENE                           CITY OF LAS CRUCES
 TOWN OF PLATTSBURGH WTR & SWR             KENTUCKY AMERICAN WATER
 NEW YORK STATE ELEC & GAS CORP            COLUMBIA GAS OF KENTUCKY
 SOUTHINGTON BOARD WATER                   LEXINGTON FAYETTE URBAN CO
 COMM                                      GOV
 TOWN OF SOUTHINGTON                       TUPELO WATER & LIGHT
 VILLAGE OF FRANKFORT                      TOMBIGBEE ELECTRIC POWER ASSN
 CITY OF AMMON                             TEXARKANA WATER UTILITIES
 CITY OF JOLIET                            WSSC
 APPALACHIAN POWER                         TOHO WATER AUTHORITY
 ROANOKE GAS CO                            KISSIMMEE UTILITY AUTHORITY
 WESTERN VIRGINIA WTR AUTH                 CITY OF SOMERVILLE
 CITY OF LUBBOCK UTILITIES                 CITY OF BEND UTILITIES
 ELIZABETHTOWN GAS                         VALPARAISO CITY UTILITIES
 MIDDLESEX WATER CO                        BUTLER CO WATER & SEWER DEPT
 JACKSON CO WTR & SEWERAGE                 ALTOONA WATER AUTHORITY
 AUTH                                      LOGAN TOWNSHIP
 ROCKY MTN POWER                           NYSEG
 JLP CRANBERRY EQUITY LLC                  CITY OF ITHACA
 PENN POWER                                CITY OF MCKINNEY
 FLORIDA PUBLIC UTILITIES                  TOWN OF NEWBURGH
 GRAND TRAVERSE COUNTY DPW                 CITY OF COCOA
 TMLP                                      ASHWAUBENON WATER & SEWER
 RAYNHAM CENTER WATER DISTRICT             UTIL
                                           WISCONSIN PUBLIC SERVICE CORP
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 CITY OF CONCORD                           BOISE CITY UTILITY BILLING
 TOWN OF DARTMOUTH                         VEOLIA WATER IDAHO
 CITY OF VICTORIA UBO                      FLATHEAD ELECTRIC COOP
 BROWARD CO WATER & WASTEWTR               NORTHWESTERN ENERGY
 SV                                        CITY OF KALISPELL MONTANA
 CITY OF TOPEKA                            CITY OF GLENWOOD SPRINGS
 BERKSHIRE GAS COMPANY                     CITY OF DOWNEY
 CITY OF PITTSFIELD                        TOLEDO EDISON
 BRAZORIA COUNTY MUD #6                    CITY OF TOLEDO DEPT PUBL UTIL
 TOWN OF ABERDEEN                          RIB MOUNTAIN SANITARY DISTRICT
 PUEBLO BOARD OF WATERWORKS                HIXSON UTILITY DISTRICT
 CITY OF ATLANTA                           CITY OF LEOMINSTER
 BOROUGH OF PARAMUS                        CITY OF WILDWOOD WATER UTILITY
 CITY OF BURLINGTON                        DEDHAM WESTWOOD WATER
 AQUARION WATER COMPANY OF CT              DISTRICT
 CITY OF ROCKWALL                          PASSAIC VALLEY WATER COMM
 CITY OF UPLAND                            CITY OF SPARKS
 CITY OF LAKELAND                          CITY OF TUCSON UTILITY LOCKBOX
 PEARL RIVER VALLEY EPA                    CITY OF SAN MARCOS
 ARNOLD LINE WATER                         COLE MT SAN MARCOS TX LLC
 CITY OF HATTIESBURG                       CITY OF LONGMONT
 IMPERIAL IRRIGATION DISTRICT              RG&E
 TOWN OF GILBERT                           CITY OF RUTLAND
 NORTH ATTLEBOROUGH ELECTR                 IRVING ENERGY
 DEPT                                      SANDPIPER ENERGY INC
 LIBERTY UTILITIES                         CITY OF BOZEMAN
 TOWN OF NORTH ATTLEBOROUGH                CITY OF CONROE
 LENOIR CITY UTILITIES BOARD               CITY OF GREENSBORO
 BOROUGH OF BUTLER                         CITY OF KEIZER
 MORGANTOWN UTILITY BOARD                  CITY OF OLYMPIA
 MONONGAHELA POWER                         CITY OF DELRAY BEACH
 HOPE GAS                                  SOUTH CAROLINA ELECTRIC & GAS
 TOWN OF PLYMOUTH                          CITY OF AIKEN
 OLIVENHAIN MUNICIPAL WATER DIS            PPL ELECTRIC UTILITIES
 CITY OF THORNTON                          BEACHES ENERGY SERVICES
 UNITED POWER INC                          CARROLL ELECTRIC COOP CORP
 CLARKSVL WSTWTR TREATMENT                 ORLANDO UTILITIES COMMISSION
 DEPT                                      CITY OF LOVELAND
 AES OHIO                                  SIOUX FALLS UTILITIES
 CITY OF HUBER HEIGHTS                     MAINE NATURAL GAS
 PADUCAH WATER                             CITY OF PETOSKEY
 PADUCAH POWER SYSTEM                      CITY OF WICHITA FALLS
 CITY OF JOPLIN                            CITY OF MISSOULA
 CITY OF LONGVIEW                          CITY OF LAKE WORTH
 COWLITZ PUD                               CITY OF HELENA
 MONARCH UTILITIES                         CITY OF GAINESVILLE
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 CITY OF PORT ARTHUR                       HINGHAM MUNICIPAL LIGHTING PLT
 CHUGACH ELECTRIC ASSOCIATION              WEIR RIVER WATER SYSTEM
 ENSTAR                                    CITY OF FLOWOOD
 CITY OF GLENDORA                          CUIVRE RIVER ELECTRIC COOP
 THE CITY OF DOTHAN ALABAMA                CITY OF MANSFIELD
 DOTHAN UTILITIES                          AQUA ILLINOIS INC
 SOUTHEAST GAS                             VILLAGE OF BRADLEY
 MILFORD SEWER DEPARTMENT                  CITY OF WARNER ROBINS
 MILFORD WATER DEPARTMENT                  FLINT EMC
 ORANGE CITY UTILITIES                     LIBERTY
 CITY OF GULF SHORES                       ARKANSAS OKLAHOMA GAS CORP
 BALDWIN EMC                               HUMMELS WHARF MUNIC AUTH
 CLARK CO WTR RECLAMATION DIST             CITY OF MOORE
 TOWN OF CHRISTIANSBURG                    OPELIKA POWER SERVICES
 BOSSIER CITY UTILITIES DEPT               OPELIKA UTILITIES
 DUPAGE COUNTY PUBLIC WORKS                HOT SPRINGS MUNICPAL UTILITIES
 VILLAGE OF WILLOWBROOK                    CITY OF ALEXANDRIA
 CITY OF SEATTLE                           CITY OF QUINCY
 WITHLACOOCHEE RIVER ELEC COOP             NORTHEAST OHIO REGION SWR DIST
 ENERGY WEST MONTANA                       CITY OF CLEVELAND DIV OF WATER
 CITY OF SEBRING                           PARAMOUNT NEWCO REALTY LLC
 CITY OF EULESS                            THINK UTILITY SERVICES INC
 CHARTER TWP OF CHESTERFIELD               LCEC
 HERNANDO CNTY UTILITIES DEPT              CITY OF CAPE CORAL
 CITY OF CORALVILLE                        UNS GAS INC
 CITY OF WILSON                            TOWN OF SCHERERVILLE
 CITY OF MOSCOW                            AQUA NEW JERSEY
 NORTHWESTERN WATER & SWR DIST             CITY OF BILLINGS
 TOLEDO EDISON CO                          MONTANA DAKOTA UTILITIES CO
 CITY OF PERRYSBURG                        CITY OF SOUTHAVEN
 TOWN OF FOXBOROUGH                        CITY OF VALLEJO
 MARINA COAST WATER DISTRICT               TOWN OF HADLEY
 SAWNEE ELECTRIC MEMBERSHIP                CITY OF SELMA
 TOWN OF LADY LAKE                         LA PLATA ELECTRIC ASSOCIATION
 SECO ENERGY                               HAWAIIAN ELECTRIC COMPANY
 TOWN OF MOREHEAD CITY                     CITY AND COUNTY OF HONOLULU
 CITY OF NEW LONDON                        BRODHEAD CREEK REGIONAL AUTH
 CITY OF WEATHERFORD                       UGI CENTRAL
 CITY OF NOBLESVILLE UTILITIES             EAST LAMPETER TOWNSHIP
 CITY OF PORTSMOUTH                        RAPID CITY UTIL BILLING OFFICE
 DIXIE ELECTRIC COOPERATIVE                PUBLIC UTIL DIST 1 SKAGIT CO
 MONTGOMERY WATER WRKS &                   LAKE APOPKA NATURAL GAS DIST
 SEWER                                     CITY OF WINTER GARDEN
 CITY OF MANHATTAN                         PACIFIC POWER
 CITY OF HARKER HEIGHTS                    CITY OF COLUMBIA MISSOURI
 TOWN OF QUEEN CREEK                       SHENANDOAH VALLEY ELEC COOP
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 FLORENCE UTILITIES                        GREENWOOD SANITATION
 MONROE COUNTY WATER                       CITY OF DALLAS
 AUTHORITY                                 CITY OF BROOKFIELD UTILITIES
 VICTOR SEWER DISTRICT                     CITY OF CRYSTAL LAKE
 CLARKSVILLE GAS & WATER                   RCWD
 CLARKSVILLE DEPT OF ELECTRICTY            CITY OF FRESNO
 TOWN OF DANVERS WATER & SEWER             FLORIDA POWER & LIGHT CO
 OCWRC                                     CITY OF PEMBROKE PINES
 WHITE LAKE TOWNSHIP WATER                 CITY OF HURST UTILITY BILLING
 DEPT                                      VEOLIA WATER NEW YORK INC
 ERIE COUNTY SEWER & WATER                 SAN DIEGUITO WATER DISTRICT
 SILVERDALE WATER DISTRICT                 SANDY CITY
 KITSAP COUNTY PUBLIC WORKS                CITY OF ALTAMONTE SPRINGS
 CITY OF GRAND ISLAND UTILITIES            WEST DES MOINES WATER WORKS
 CITY OF OSAGE BEACH                       ROCKAWAY TWSP MUNICIPAL UTIL
 SUMMIT NATURAL GAS OF MISSOURI            CITY OF FREDERICKSBURG
 BOWLING GREEN MUNI UTILITIES              CITY OF ROSEVILLE
 ST MARYS CO METROPOLITAN                  TOWNSHIP OF LIVINGSTON
 COMM                                      MARIETTA POWER WATER
 CITY OF LAWTON UTILITY SVCS               WATER TOWER SQUARE ASSOCIATES
 SUMMIT UTILITIES OKLAHOMA INC             CITY OF PHARR
 CITY OF WALKER                            IVT PARKE CEDAR PARK LLC
 WARD 2 WATER DISTRICT                     PEDERNALES ELECTRIC COOP INC
 CAPITAL ELECTRIC COOP INC                 CITY OF PEORIA
 CITY OF BISMARCK WATER DEPT               DOMINION ENERGY NORTH
 TOWN OF FLOWER MOUND                      CAROLINA
 COSERV                                    CITY OF LEWISVILLE
 CITY OF SIOUX CITY                        ALLIANT ENERGY WPL
 CITY OF TUSCALOOSA WATER                  AW BILLING SERVICES LLC
 SEWER                                     TOWNSHIP OF WAYNE
 CITY OF TWIN FALLS                        NATIONAL EXEMPTION SERVICE
 CITY OF BRISTOL TN FINANCE DPT            JERSEY CENTRAL PWR & LGT
 BRISTOL TENNESSEE ESSENTIAL SV            STANDARD WASTE SERVICES
 CITY OF WESTLAND WATER                    FRANKLIN BOARD OF PUBLIC
 CITY OF VALDOSTA                          WORKS
 CITY OF REHOBOTH BEACH                    FAIRCLOUGH PROPANE
 CITY OF SANTA FE NM                       FIRST REAL EST INVSTMNT TRUST
 LOUDOUN WATER                             INCORPORATED VILL OF MINEOLA
 CITY OF WALLA WALLA                       BRICK TOWNSHIP MUA
 CLACKAMAS RIVER WATER                     EAST BRUNSWICK TWP WATER
 CITY OF CLAREMONT                         SEWER
 CONGRESSIONAL PLAZA ASSO                  BRIXMOR HOLDINGS 11 SPE LLC
 FEDERAL REALTY INVESTMNT                  CARLE PLACE WATER DISTRICT
 TRUST                                     TOWN OF JUPITER
 CANTON TOWNSHIP WATER DEPT                ALECTRA UTILITES CORP
 CORAL SPRINGS IMPROVEMENT DIST            ENBRIDGE
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 OAKVILLE HYDRO                            CITY OF KAMLOOPS
 ENBRIDGE GAS INC                          CITY OF FREDERICTON
 HYDRO OTTAWA                              LIBERTY UTILITES
 ELEXICON ENERGY                           ENERGIE NB POWER
 ENBRIDGE GAS DISTRIBUTION INC             STRATHCONA COUNTY
 EPCOR                                     POWERSTREAM ENERGY SERVICES
 DIRECT ENERGY REGULATED SVCS              ALECTRA UTILITIES CORPORATION
 ALECTRA UTILITIES                         LONDON HYDRO
 REGION OF PEEL                            ATCO ENERGY
 CITY OF OTTAWA                            TORONTO HYDRO ELEC SYSTEM LTD
 ENMAX                                     BRANTFORD POWER INC
 NEWMARKET TAY POWER DISTR LTD             CITY OF BRANTFORD
 NOVA SCOTIA POWER INC                     CITY OF WINNIPEG
 EASTWARD ENERGY INC                       MANITOBA HYDRO
 MARITIME ELECTRIC                         EPCOR ELECTRCTY DISTRBN ON INC
 SUPERIOR PROPANE                          SASK POWER
 FORTIS BC NATURAL GAS                     CITY OF REGINA
 BC HYDRO                                  SASK ENERGY
 CITY OF RED DEER                          CITY OF LETHBRIDGE
 ENERGY+ INC                               HYDRO ONE NETWORKS INC
 CORP OF THE CITY OF CAMBRIDGE             UTILITIES KINGSTON
 CITY OF BELLEVILLE                        CITY OF SASKATOON
 CORP OF THE CITY OF KITCHENER             CITY OF MEDICINE HAT
 KITCHENER WILMOT HYDRO INC                GSU
 FORTISBC ELECTRICITY
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                                        SCHEDULE 2


                                     Name of Entity and/or Affiliate
     Name of Entity Searched           of Entity that is a Gibbons            Status
                                                  Client
  Bank of America Merrill Lynch
  Proprietary Trading                Bank of America Corporation       Current Client

  Bank of America , N.A.

  Barclays Capital, Inc.             Barclays                          Current Client

                                     Barclays Capital                  Current Client

  Bed Bath & Beyond, Inc.            Bed Bath & Beyond, Inc.           Former Client
                                     Chubb Insurance Company (and
  Chubb - Federal Insurance          affiliates)                       Former Client

  CIGNA Investments, Inc.            CIGNA Corporation                 Current Client

  Citigroup Global Markets, Inc.     Citigroup                         Current Client

                                     Citigroup Global Markets          Current Client
                                                                       Former Client
                                                                       (acquired by Current
                                                                       Client Rackspace US,
  Datapipe, Inc.                     Datapipe, Inc.                    Inc.)
                                     Deloitte LLP (domestic and
  Deloitte                           foreign affiliates)               Current Client

  Deloittte Consulting LLP

  Elizabethtown Gas                  Elizabethtown Gas Company         Former Client

                                     South Jersey Industries           Current Client

  Flemington Retail, LLC             Lerner Properties                 Current Client

  Georgia Power                      Georgia Renewable Power           Current Client

  Georgia Natural Gas                Southern Company Gas              Former Client
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                                    SouthStar Energy Services, LLC   Former Client

  HSBC Bank LC                      HSBC Bank UK plc.                Current Client

  JPMorgan                          JP Morgan Chase Bank             Current Client

  JPMorgan Chase Bank, N.A.         JP Morgan Securities, Inc.       Current Client
  JPMorgan Chase Bank, N.A., as
  Administrative Agent              JPMorgan Chase Bank, N.A.        Current Client
  J.P. Morgan Investment
  Management, Inc.

  J.P. Morgan Securities, LLC

  KRG Avondale McDowell, LLC        Kite Realty Group                Current Client

  KRG Cool Springs, LLC

  KRG Leesburg Fort Evans, LLC

  KRG Livingston Center LLC

  KRG Market Street Village, L.P.
  KRG McDonough Henry Town,
  LLC

  KRG Miami 19th Street II, LLC

  KRG New Hill Place, LLC

  KRG Plaza Green LLC

  KRG Plaza Green, LLC

  KRG Rivers Edge, LLC

  KRG Shops at Moore LLC

  KRG Southlake, LLC

  KRG Southlake, LLC
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  KRG Sunland LP

  KRG Temecula Commons, LLC
                                   Manhattan Life Insurance
  Manhattan Life Insurance         Company                            Former Client
  Metropolitan Life Insurance
  Company                          Metropolitan Life Insurance        Current Client
  Morgan Stanley & Company,
  LLC                              Morgan Stanley Infrastructure      Former Client

  SSB/Morgan Stanley
  New Jersey Division of           New Jersey Department of
  Investment                       Treasury, Division of Investment   Current Client

  NJ Natural Gas Co.               New Jersey Resources               Current Client
  Newell Brands Canada
  ULC/CA/VDC                       Newell Brands                      Current Client

  Newell Brands Inc.
  Oppenheimer Asset Management
  Inc.                         Oppenheimer and Company                Current Client

  PEPCO                            Pepco Holdings Inc.                Former Client

  PGIM, Inc.                       PGIM, Inc.                         Current Client

  PNC Bank, N.A.                   PNC Capital Markets, Inc.          Former Client

  PNC Bank, National Association

  PWC                              PriceWaterhouseCoopers             Current Client
                                   PSEG Energy Resources &
  PSE&G CO                         Trade LLC                          Current Client

  PSEGLI                           PSEG Services Corporation          Current Client
                                   Public Service Electric & Gas
                                   Company                            Current Client

                                   Public Service Enterprise Group    Current Client

  Rackspace Hosting Inc.           Rackspace US, Inc.                 Current Client
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  Simon Property Group LP           Simon Property Group, L.P.         Former Client

  Southwest Gas                     Southwest Gas Corporation          Former Client

  TD Bank, N.A.                     TD Bank, NA                        Former Client

  Michaels Stores, Inc.             The Michaels Companies, Inc.       Former Client

  Township of Livingston            Township of Livingston             Current Client

  Veolia Water Delaware             Veolia Affiliates                  Current Client

  Veolia Water Idaho                Veolia Energy Philadelphia, Inc.   Current Client
                                    Veolia ES Technical Solutions,
  Veolia Water New Jersey           LLC                                Current Client
                                    Veolia Water North America
  Veolia Water New York Inc.        Operating Services                 Current Client

  Veolia Water Pennsylvania
  Zurich American Insurance
  Company                           Farmers Insurance                  Current Client
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 Proposed Special Counsel for the Official
 Committee of Unsecured Creditors

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                                                     (Hon. Vincent F. Papalia)
  In re:
                                                                     Chapter 11
                                                  1
  BED BATH & BEYOND, INC., et al.,
                                                                     Case No. 23-13359 (VFP)
                             Debtors.
                                                                     (Jointly Administered)

      DECLARATION OF MICHAEL MANDELL, PURSUANT TO 28 U.S.C. § 1746,
      IN SUPPORT OF THE APPLICATION OF THE OFFICIAL COMMITTEE OF
     UNSECURED CREDITORS FOR ENTRY OF AN ORDER AUTHORIZING THE
        EMPLOYMENT AND RETENTION OF GIBBONS P.C. AS ITS SPECIAL
                  COUNSEL EFFECTIVE AS OF MAY 23, 2023

           MICHAEL MANDELL, solely in his capacity as Chairperson of the Official Committee

 of Unsecured Creditors (the “Committee”) of Bed Bath & Beyond, Inc. and its affiliates (the

 “Debtors”), under penalty of perjury, hereby declares as follows:

     1. I submit this declaration (the “Mandell Declaration”) in support of the Application of the

 Official Committee of Unsecured Creditors for Entry of an Order Authorizing the Employment


 1
   The last four digits of Debtor Bed Bath & Beyond, Inc.’s tax identification number are 0488. A complete list of the
 Debtors in the Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of
 the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath &
 Beyond, Inc.’s principal place of business and the Debtors’ service address in the Chapter 11 Cases is 650 Liberty
 Avenue, Union, New Jersey 07083.
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 and Retention of Gibbons P.C. as its Counsel Effective as of May 23, 2023 (the “Application”).

 Unless otherwise stated in the herein, I have personal knowledge of the facts set forth herein and,

 if called as a witness, would testify competently thereto.2

        2. The Committee selected Gibbons after determining that Gibbons’ combination of relevant

 financial restructuring and bankruptcy related experience warranted selection of the Firm. The

 Firm is also recognized for its expertise in other areas of the law, including but not limited to, tax,

 real estate, intellectual property and complex commercial litigation. Based on these facts and in

 consultation with Pachulski, the Committee determined that Gibbons is qualified to serve as

 special counsel.

        3. Gibbons has informed the Committee that its current hourly rates are the Firm’s usual and

 customary hourly rates for work of this nature. The Committee recognizes that such rates are

 comparable to the rates of firms similar to Gibbons and for professionals with similar experience

 as Gibbons attorneys. Gibbons has also informed the Committee that its hourly rates are subject

 to periodic adjustments, of which the Firm will provide notice to the Committee.

        4. Gibbons has advised the Committee that the Firm intends to apply for compensation for

 professional services rendered and reimbursement of expenses incurred in connection with the

 Chapter 11 Cases, and to make reasonable efforts to comply with the UST Guidelines.

        5. The Committee will supervise the Firm and, in coordination with Pachulski and the

 Committee’s other professionals, develop a prospective budget and staffing plan for the Chapter

 11 Cases. The Committee will review the Firm’s invoices, and, due to unforeseen issues that may

 arise in the Chapter 11 Cases, amend any budget and staffing plan accordingly.




 2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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    6. Therefore, based on the foregoing, the Committee believes that the employment and

 retention of Gibbons is necessary and appropriate and in the best interest of the creditors of the

 Debtors’ estates.


        I hereby declare under penalty of perjury that the foregoing is true and correct.


 Dated: July 12, 2023                          The Official Committee of Unsecured Creditors
                                               of Bed Bath & Beyond, Inc., et al.


                                                By: /s/ Michael Mandell
                                                   Michael Mandell, solely in his capacity
                                                   as Chairperson of the Committee
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 Proposed Special Counsel for the Official
 Committee of Unsecured Creditors

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

                                                                     (Hon. Vincent F. Papalia)
     In re:
                                                                     Chapter 11
                                                  1
     BED BATH & BEYOND, INC., et al.,
                                                                     Case No. 23-13359 (VFP)
                              Debtors.
                                                                     (Jointly Administered)

     ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF GIBBONS P.C.
       AS SPECIAL COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED
                   CREDITORS EFFECTIVE AS OF MAY 23, 2023


              The relief set forth on the following pages, numbered two (2) through four (4), is hereby

 ORDERED.




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath
 & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 650 Liberty
 Avenue, Union, New Jersey 07083.
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 Debtors: Bed Bath & Beyond, Inc., et al.
 Case No.: 23-13359 (VFP)
 Caption: Order Authorizing the Retention and Employment of Gibbons P.C. as Special Counsel
             to the Official Committee of Unsecured Creditors Effective as of May 23, 2023

            Upon the Application of the Official Committee of Unsecured Creditors for Entry of an

 Order Authorizing the Retention and Employment of Gibbons P.C. as Special Counsel Effective

 as of May 23, 2023 (the “Application”);2 and upon the Malone Declaration and the Mandell

 Declaration; and the Court finding that: (a) the Court has jurisdiction over this matter pursuant to

 28 U.S.C. §§ 157 and 1334, and the Standing Order of Reference from the United States District

 Court for the District of New Jersey dated July 23, 1984 and amended September 18, 2012; (b)

 this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (c) the Court having found that venue

 of these proceedings and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and (d) the Court may enter a final order consistent with Article III of the United States

 Constitution; and the Court being satisfied that notice of the Application and the opportunity for a

 hearing on the Application was appropriate under the particular circumstances and no further or

 other notice need by given; and the Court being satisfied, based on the representations made in the

 Application and the Malone Declaration, that Gibbons does not hold or represent an adverse

 interest in connection with the Chapter 11 Cases, and that Gibbons is a “disinterested person” as

 such term is defined in section 101(14) of the Bankruptcy Code; and the Court having determined

 that the relief sought in the Application is in the best interests of the Committee, the Debtors, their

 creditors, and all parties in interest; and the Court having determined that the legal and factual

 bases set forth in the Application and the Malone Declaration establish just cause for the relief

 granted herein; and after due deliberation and good cause appearing therefor, it is hereby




 2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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 Debtors: Bed Bath & Beyond, Inc., et al.
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 Caption: Order Authorizing the Retention and Employment of Gibbons P.C. as Special Counsel
             to the Official Committee of Unsecured Creditors Effective as of May 23, 2023

          ORDERED THAT:

          1.    The Application is GRANTED as set forth herein.

          2.    Pursuant to sections 328(a) and 1103(a) of the Bankruptcy Code, the Committee is

 authorized to retain and employ Gibbons as special counsel, effective as of May 23, 2023.

          3.    Gibbons shall be compensated for legal services rendered to the Committee and

 reasonable expenses incurred in connection therewith in accordance with sections 330 and 331 the

 Bankruptcy Code, applicable Bankruptcy Rules and Local Rules, and any other orders of this

 Court. Gibbons also intends to make a reasonable effort to comply with the U.S. Trustee’s requests

 for information and additional disclosures as set forth in the UST Guidelines in connection with

 the Application and any interim and final fee applications to be filed by Gibbons in the Chapter 11

 Cases.

          4.    Gibbons is authorized to render professional services to the Committee as set forth

 in the Application, and shall use its best efforts to avoid unnecessary duplication of services

 provided by the Committee’s lead bankruptcy counsel, Pachulski, or any of the Committee’s other

 retained professionals in the Chapter 11 Cases.

          5.    Gibbons shall provide ten (10) business days’ notice to the Debtors and the U.S.

 Trustee before any increase in rates set forth in the Application or Malone Declaration and shall

 file such notice with the Court

          6.    The Committee and Gibbons are authorized to take all actions they deem necessary

 and appropriate to effectuate the relief granted pursuant to this Order in accordance with the

 Application.
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 Debtors: Bed Bath & Beyond, Inc., et al.
 Case No.: 23-13359 (VFP)
 Caption: Order Authorizing the Retention and Employment of Gibbons P.C. as Special Counsel
             to the Official Committee of Unsecured Creditors Effective as of May 23, 2023

        7.      The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

        8.      The Court shall retain jurisdiction with respect to all matters arising from or related

 to the interpretation or implementation of this Order.
